Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 1 of 34 PageID #: 6




                            Exhibit A
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 2 of 34 PageID #: 7
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                                                                                                                  US00843 8608B2


c12)   United States Patent                                                           (10)   Patent No.:     US 8,438,608 B2
       Liwerant et al.                                                                (45)   Date of Patent:     *May 7, 2013

(54)     SHARING A STREAMING VIDEO                                              (52)       U.S. Cl.
                                                                                           USPC ................. 725/115; 725/86; 725/87; 725/91;
(75)     Inventors: Gad Liwerant, Cambridge, MA (US);                                               725/92; 725/98; 725/105; 725/109; 725/112;
                    Christopher Dodge, Arlington, MA                                                                                       725/114
                    (US); Guillaume Boissiere, Cambridge,                       (58)       Field of Classification Search ............. 725/86-115
                    MA(US)                                                                 See application file for complete search history.

(73)     Assignee: VideoShare, LLC, Chestnut Hill, MA                           (56)                                 References Cited
                   (US)
                                                                                                           U.S. PATENT DOCUMENTS
( *)     Notice:              Subject to any disclaimer, the term of this                 6,774,926 B1 *               8/2004 Ellis et al.                             348/14.01
                              patent is extended or adjusted under 35
                                                                                                             OTHER PUBLICATIONS
                              U.S.C. 154(b) by 74 days.
                                                                                XP-002149004 "Rea!Video Content Creation Guide" Version 1.0,
                              This patent is subject to a terminal dis-
                                                                                Progressive Networks, Inc., Dec. 6, 1997.*
                              claimer.                                          XP-002150023 "StreamingEmail"Chapter 18, pp. 303-3017, Sep.4,
                                                                                1998. *
(21)     Appl. No.: 13/175,688
                                                                                * cited by examiner
(22)     Filed:               Jul. 1, 2011
                                                                                Primary Examiner- Dominic D Saltarelli
(65)                                Prior Publication Data                      (74) Attorney, Agent, or Firm- Guerin & Rodriguez, LLP
         US 2011/0265136Al                           Oct. 27, 2011
                                                                                (57)                                    ABSTRACT
                                                                                A video segment can be shared over a computer network by
                          Related U.S. Application Data
                                                                                first receiving the video segment at a receiving computer on
(63)     Continuation of application No. 11/927,806, filed on                   the network. The receiving computer assures that the video
         Oct. 30, 2007, now Pat. No. 7,987,492, which is a                      segment is in a streaming video format, and creates at least
         continuation of application No. 09/803,243, filed on                   one identification tag for the video segment. The receiving
         Mar. 9, 2001, now abandoned.                                           computer also stores the video segment, and communicates
                                                                                the identification tag to another computer on the network.
(60)     Provisional application No. 60/188,082, filed on Mar.                  Upon subsequent receipt of that identification tag, the receiv-
         9, 2000.                                                               ing computer streams the video segment to a destination
                                                                                computer on the network.
(51)     Int. Cl.
         H04N71173                                (2011.01)                                                23 Claims, 16 Drawing Sheets

                                                                                                       Embodiments of
                                                                                                       transmission formats:
                                                                                                                                             Upload and process:
                                                                                             1200 Standard email or HTML e-mail
                                                                                                                           r'!1405 Receive Video
                                                                                              1210 To: Host                   1410 Take Information
                                                                                                                                 0 Define if video is in streaming
                                                                                              1200 From: Client user
                                                                                                   Subject: Name and
                                                                                                                                     1~~~ r
                                                                                                                                   video compatible format                   h

                                                                                                                                       r
                                                                                                                                     l~n                           1422-~
                                                                                              1230 Description
                                                                                              1240 Return address                       op1ional
                                                                                                   Attachment (including
                10
                                                                                                       fil~~~rs~~{~~~~~~~~~dio              Convert 1o lormat compatible
                                                                                              1250 audio files) also contains               with streaming video
                                                                                                       information as In HTML
                                                                                                       form.

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                                                                                             .......                                            1400
                                                                                                       HTMLFORM                                                 --{_Database
                                                                                              1300 or Web Page                       1~40                  60

                                                                                              1305 http://www.host.com                                  l51:=toatabase
       VIdeo Identifier                                                                       1310 Name:
                                                                                              1320 Return Address:
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                                                                                                                                 I
                                                                                                                                                           50
                                                                                                                                                                   Video
                                                                                                                                                                   Store
                                                                                                       This video is about my
                                                                                                       Uncle Sam, who was
                                                                                                       born on the Fourth of
                                                                                              1350
                                                                                                       ~~X/;~SS''desired:
                                                                                                       H~h Resolution
                                                                                                       A d'l Copy on CD-ROM
   Sender can then cut and paste the video                                                             Paymen method:                           Delivery of the streaming video
                                                                                     60                Credit Card# XXXX-YYY
   identifier in any Web page source code.


                                                                                                       -
                                                                                                                                                to a viewer.
   II will automativally trigger the displaying
   of the video streamed by server D.
                                                                                     61
                                                                                                                                                Send to user (or to user's
                                                                                                                                            rde:~~~~;~uch as URL
                                                                                                                                      1440- e-mail with text info (HTML)
                                                                                                                                            embed video in e-mail
                                                                                                                                            Web page


                                                                                                                                      145~      Sender sends identifier back to
                                                                                                                                                system


                                                                                                                                      146D=9    Video will stream to person
                                                                                                                                                who sent identifier
                 Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 3 of 34 PageID #: 8




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Sender A
                 Email with
                                                         Mail
                                                       Server B
                                                                                   Processing
                                                                                    Server C          =
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                 Video Attachment

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   Video Identifier                                                                                   0
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                                                                       Streaming                      =-
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                                                                       Server D          40           ('D
                                                                                                      ......
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                                               Stream Video                                           0
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Sender can then cut and paste the video                                                         60
identifier in any Web page source code.
It will automativally trigger the displaying
of the video streamed by server D.
                                                                                                      d
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Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 4 of 34 PageID #: 9


U.S. Patent            May 7, 2013        Sheet 2 of 16                    US 8,438,608 B2



          Embodiments of
          transmission formats:
                                                 Upload and process:
    1200 Standard email or HTML e-mail
                                       1405- Receive Video
     1210 To: Host                     1410- Take Information
                                       1420- Define if video is in streaming
     1200 From: Client user           1430.[    video compatible format          0
                                      l l
                                     1
          Subject: Name and
     1230 Description                   yes           optional        1422 -       no
     1240 Return address
          Attachment (including
          video setlment and audio
          file, or strl images and              Convert to format compatible     ~
     1250 audio files) also contains      ...-- with streaming video
          information as in HTML
          form.
                                  -           (1425
                                                 /1400
          HTML FORM
     1300 or Web Page                  server~ 40
                                                               60
                                                                     ,~Database

                                                                      .I
                                                                                        I
     1305 http://www.host.com                                   61
                                                                     -i Database        J
     1310 Name:
     1320 Return Address:
     1220 Description
     1340IBrowse for File
          Additional Information:
          This video is about my
                                  I
                                                               50
                                                                      J Video
                                                                     -i Store           ]
          Uncle Sam, who was
          born on the Fourth of
     1350 July, 1 ......
          Services desired:
          H~h Resolution
          A d\1 Copy on CD-ROM
          Payment method:                           Delivery of the streaming video
          Credit Card# XXXX-YYY

                                  -                 to a viewer.




                                                    Send to user (or to userls
                                                    designee):
                                         1440~
                                                    Identifier such as URL
                                                    e-mail with text info (HTML)
                                                    embed video in e-mail
                                                    Web page


                                         14S04 Sender sends identifier back to
                                               system
                                                                                        J
            FIG. 1 B                     1460   -l who
                                                   Video  will_stre~f!l
                                                                     to person
                                                       sent 1dent1f1er                  I
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 5 of 34 PageID #: 10


U.S. Patent             May 7, 2013     Sheet 3 of 16        US 8,438,608 B2




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                                      1550       1560


                           y          y
                                      1580




                                  FIG. 1C
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 6 of 34 PageID #: 11


U.S. Patent           May 7, 2013         Sheet 4 of 16                US 8,438,608 B2




                Import       Home PC Environment                  Record
               existing                                   20      Directly
              Multimedia                                           from
              File Types                                       Input Device




                                            One-Click Publishing $%tern
                                              (send or submit video)
                                                                           50

     VideoShare.com


                                                                      60




                                    VideoShare.com
                              Web-Based Appr~ea1ions           70
                                  and Servers




                  Video Distributed Across the World Wide Web




                  Client-Side Browser-Based Viewing Platform
                            (with or without plug-ins)


                                    FIG. 1D
               Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 7 of 34 PageID #: 12




                                                                                                                 ~
                                               Video Hosting                                                     00
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                                      Upload
                                      Video
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                                                VideoShare         Storage
                                                Servers
             COMPUTER                                                                                            ~
18 --I   VIDEO INPUT DEVICE                                                                                     ~
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                USER
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        Produce/Record Video
     On the Hard Disk (Computer)
                                                                                                                 rFJ
                                                                                   Email with Link to Video      =-
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                                                                                                                 ('D
                                                                                   Stored on the VideoShare      ......
                                                                                                                 Ul
                                                                                   Server (can be included in    0
                                                                                                                 ......
                                                 . . . . . . - - - - - - - - - - , a VideoShare card)            ......
                                                                                                                 0\
                                                          COMPUTER or
                                                   DISPLAY OUTPUT DEVICE f-g
                                                                                      2
                                                  or VIDEO OUTPUT DEVICE
    Possible Compression/Format                                USER
        Change to the Video
                                                  From the link in the email                                     d
                                                  click and display the video or                                 rJl
                                                                                                                 00
                                   FIG. 2         video greeting card. The video                                ~
                                                                                                                w
                                                  is downloaded direct from the                                 00
                                                  VideoShare Server                                             0..,
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         Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 8 of 34 PageID #: 13




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FIG. 3      VideoShare Functional Diagram                                                                                                       ~
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         Bundle
                                     Install & Register
                                     VideoShare
                                     on Member PC
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                                                                                                          Streaming video
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                                                                                                                                                rFJ
                                      Find or Create                                                                                            =-
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                                      AVI Video Clip
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                                                l                                                Public VideoSpace        Private Email
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            V1deoShare Producer· Microsoft lntamet Explorer

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                                                              Streaming File Format                                                             rJl
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                                                                                                   Servers                       Storage       w
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              VideoShare Producer                                                                                                              0..,
                                                                                                                 HOSTING                        =
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                                                                                                                                                N
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 9 of 34 PageID #: 14


U.S. Patent                      May 7, 2013           Sheet 7 of 16                           US 8,438,608 B2




                                                                                                       400
                                                                                                       )
      VideoS hare                                                                                  ~
  VideoS hare Login   I

                      To begin using the VideoShare Producer, please enter in
                       your VideoS hare account Login Name and Password.
                           VideoShare Login Name
           410-       ~vtest                            I               Start
                           VideoShare Password                       VideoShare _   f-
                                                                                         420
           415            l*******                      I             Producer

                          VideoShare Grou12
                          IVideoShare                   I
           430            _PI Remember Password
                          ~




           440            --
                          .-PI Work Offline


                           v.1.0.0000
                                              I
                                              Create Another
                                                 Account
                                                               Ill      Help!


                                                  J                    }
                                              460                    450


         VideoShare Producer v. 1.0.0000. (c) 1998-2000
              VideoShare Inc. All Rights Reserved.                                             [2]

                                                  FIG. 4
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 10 of 34 PageID #: 15


U.S. Patent            May 7, 2013        Sheet 8 of 16              US 8,438,608 B2




                                                                     500
                                520
            VideoS hare Producer




           Press the 'Record' button to begin recording or 'Import     I?J
                           Video' to load a video.                     ~
                                                               I

                                                              522
                                      FIG. 5
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 11 of 34 PageID #: 16


U.S. Patent                    May 7, 2013               Sheet 9 of 16                       US 8,438,608 B2




              600
                {                                          User obtains and selects
                                                                                                       605
                                                               video segment

     -----------------------------------------------------------------------   ----------------------------~~~-~:
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             Convert to compatible             NO                                                               1
                  file format                                                                                   !
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                                            615                                                                 :
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                                                              Temporarily store file                  620



               Compress file


                                                         Convert file to streaming
                                                       multimedia format ("SMF") file                  635


                                                        Create and temporarily store
                                                        JPEG "thumbnail" identifier                    640


                                                       Transfer ("upload") temporarily
                                                         stored SMF file and JPEG
                                                         thumbnail identifier to host                  645
                                                                com uter 60

                                                          Delete temporary files to
                                                         conserve storage space on                     650
                                                              user's computer

                                                        Log/create identification tag
                                                        ana store uploaded file and                   655
                                                                 identifiers

                                                         Optionally upload additional
                                                       identifiers to host computer 60 - 660




                                                         T_ra_n_s_m_i_tf_il_e_t_o_v_ie_w_e_r__--~670
                                                     _____
                                FIG. 6A
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 12 of 34 PageID #: 17


U.S. Patent                     May 7, 2013               Sheet 10 of 16                     US 8,438,608 B2




                601
                                                       Optional: User authentication

                  "'                                            with server                          604


                                                          User qbtains and selects
                                                              v1deo segment                          605
    r•••••••···--------~-E?~~-----------····-······-··•••••••••••••••••• -----------------------------------

          Convert to compatible             NO
               file format
                                         615

                                                            Temporarily store file                    620

                                                       Optional compression of file                   623


                                                        Convert file to streaming
                                                      multimedia format ("SMF") file                  635


                                                       Create and temporarily store
                                                       JPEG "thumbnail" identifier                    640


                                                     Transfer ("upload") temporarily
                                                       stored SMF file and JPEG
                                                       thumbnail identifier to host                   645
                                                              com uter 60


                                                         Delete temporary files to
                                                        conserve storage space on                     650
    '                                                        user's com uter
   :'
     ''
   '''                                                 Log/create identification tag
   '
   :'                                                  and store uploaded file and                    655
   '''                                                          identifiers
   I'
   :
   '
   i                                                    Optionally upload additional                  660
   '                                                  identifiers to host computer 60
   !'
   '                                                                                                           '
   ~---------------------------------------------------------------------- -----------------------------------~


                                                           Transmit file to viewer                    670
                               FIG. 68
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 13 of 34 PageID #: 18


U.S. Patent                     May 7, 2013               Sheet 11 of 16                      US 8,438,608 B2




        602
           \..                                                 User obtains and selects
                                                                                                          605
                                                                   video segment
                                     609
    ------------------------------~------------------------------------------- ---------------------------------·'
                                                                                                                 '
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                                                                                                                 i'
          Convert to compatible 1+----N_O_---<:                                                                  ''
               file format                                                                                         :'
                                                                                                                    :'
                                 615                                                                             ':'
                                                                                                                 :''
                       L _______-+f----=Tr;e;m~po~r;a:riri~ly;-;s;t;:;-or~e~tfiiil;::;:-e-1 --620                i'
                                                         ~----------~----------                                  i'
                                                                                                                 ''
                                                                  Compression of file                     633
                                                                 in multiple streaming
                                                                  multimedia formats
             Bandwidth Target A
                                                 636
             Bandwidth Target B

             Bandwidth Target C
                                       -638                Create and temporarily store
                                                           JPEG "thumbnail" identifier                    640


                                                          Transfer ("upload") temporarily
                                                            stored SMF file and JPEG
                                                            thumbnail identifier to host                 645
                                                                   com uter 60


                                                             Delete temporary files to
                                                            conserve storage space on                    650
                                                                 user's computer


                                                           Log/create identification tag
                                                           ana store uploaded file and                   655
                                                                    identifiers


                                                            Optionally upload additional
                                                          identifiers to host computer 60             -- 660



                                                               Transmit file to viewer                   670
                                   FIG. 6C
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 14 of 34 PageID #: 19


U.S. Patent          May 7, 2013     Sheet 12 of 16         US 8,438,608 B2




                                                                  634




                                                                  636




                                                                  638

            64

                            FIG. 60




                                                                  / 690
             USER                              Connection Speed
                                                   Detector

                            /694                                  /69 2
        User receives and                  Logic to select and serve
         views SMF file                        SMF file to User



                             FIG. 6E
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 15 of 34 PageID #: 20


U.S. Patent                   May 7, 2013               Sheet 13 of 16                   US 8,438,608 B2




                                                                                  /700
            ISave Video to VideoShare Server
                 The VideoS hare Producer is currently processing your video and
                 will save this video to the VideoShare servers. This may take a
                 few minutes to complete. When finished, this video will be
                 available in your VideoCenter page.

                 If you are working in "off-line" mode, This processed video will be
                 stored in you "Sharing Queue" for later uploading to the
                 VideoShare servers.

                                                                     9783 of 9783
                  Uploading video file                               bytes
                  "     1 •1•
                  "~================~••
                                                                     I======~II
                                                                         Cancel II
                                                                                                  FIG. 7
                                                                                  800
                                                                              /
             How do you wish to share your video?                                                       181
              Your video has been successfully saved in your VideoCenter at VideoShare.
              You can find this video under the VideoShare World Wide Web site
              (http://www.videoshare.com) where you can browse and maintain your
              collection of videos.

              Do you wish to share this video with friends and family right now?


      810   -~I    Share as a video
                         mail
                                        I   Sending a video mail will use your email browser to send
                                            this video to your friends and famly.


      820 -I-      Share as a video         Sending a video greeting card will bring you to the
                    greeting card           VideoShare Video Greeting Card site.


      830         Share through ICQ
            1-                              Share this video through ICQ Instant Messenger
                     messaging

                                            You can also go to the My VideoCenter site where your
                   Take me to my
      840   1-                              video is currently stored. From here you can also share
                    VideoCenter
                                            videos and maintain your video account.
                                            This feature will place HTML code in your clipboard to
      850         Put HTML code in
            1-                              reference this video. You can then paste this code into
                    my clipboard
                                            an HTML document to automactically play this video.

                  Nothing, I'll share       If you do not wish to share this video right now, you can
      860   1-
                   this video later         return and record another video.



                                                                                  FIG.8
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 16 of 34 PageID #: 21


U.S. Patent                         May 7, 2013           Sheet 14 of 16                     US 8,438,608 B2




   Swell, that's that - Message (HTML)                                                           1-IEJIIRJ
   0File Edit View  !nsert Format Tools Actions Help
                                                                                                                 9 00
   l~s~endl ~~I       X   ~ Li I~ D lm SiW ~~·HI~ I ~OQ.tions.NI ~ .. 1                                          v
   ICDThis message has not been sent.                                                                      I
   I To ... II                                                                                             -l- 1-'902
   I Cc... II                                                                                              +- f-'904
    Subject: I well, that's that                                                                           +- f-'906
                                                                                                          ~




                 Q~         ·····

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                             [filcffi]Liffl




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       "--920
    Hit the play button to see the video. The above embedded object requires that you have a current
    version of the Windows Media Player installed. You can download the latest version of the player at
    http://microsoft.com/windows/mediaplayer/download/default.asp
    Non HTML compatible mail browsers can retrieve this video mail at:
    http://www. videoshare.com/vm.asp ·: c-2073&c-39gyTU ke9Zk8 Y &r=y
    Want to send your own Video Mail, absolutely free? Visit the VideoShare website at
    htlJ:!:I/www.videoshare.com.                                                                          ...,

                                                FIG. 9
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 17 of 34 PageID #: 22


U.S. Patent                    May 7, 2013                            Sheet 15 of 16                                                                    US 8,438,608 B2




             VideoShare Producer                                                                                                                                    [8]
                           I                    I
         VideoShare Login Record/Playback SettingsiSharingQueue About                                     I                  I
                                                                                                                                                                           -- 1000
             Preview                     baby1                                                                                                   This lists contains all
                                         bad                                                                                                     of the video clips
              ~~                        [~-~.i.i.9.'.·.·.·.·.·.·.·.·.·-~·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·.·_·j recorded and not
                                                                                                                                                 uploaded because
                                                                                                                                                 you are working
             r--11(@-@1                                                                                                                          off-line
                  n:;,j                                                                                               You can preview one
                                                                                                                      or more recorded
             ~~7:}

                                "
   1020 -                                                                                                             video clip names and
                                                                                                                      click the Save and
                                                                                                                      Share Now button to
                                                                                                                      publish these video
               Video Clip Description                                                                                 clips to the
                                                                                                                      VideoShare Server.


                                                                                                                            I         Delete                j--             1 040

                                                                                                                                                                            1 030
                                                                                                                            I Preview]-
                                                                                                                            IShare
                                                                                                                              Save and ,ff
                                                                                                                                   now
                                                                                                                                                                            1 050
                                                                                               \
                                                                                       1010
            Press 'Save and Share' to save your video, 'Play' to view
                     video, or 'Delete' to re-record another.                                                                                         [2]

                                                FIG. 10
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 18 of 34 PageID #: 23


U.S. Patent                    May 7, 2013             Sheet 16 of 16                  US 8,438,608 B2




                                              1110
                                                   '
         VideoShare Producer                       )                                       ~
                       I                 I
     VideoShare Login Record/Playback SettingsiSharingQueuel About         I
              ASF Encoding Bitrates                       Server Space Usage                   -   -1100
              Please select the encoding bitrate


                                                               C)
              that you wish to compress at
                0 2B.8k Modem
             ~      ........................                               -   f.--1130
     1120-          \~.~-~.M~.~~m.l
                0    ISDN (1 OOkbit)
                0    T1/LAN/Cable Modem (300kbit)              Used3.13%
                0    Multi-bitrate Encoding (low)         121 Preallocate video file
                0    Multi-bitrate Encoding (high)
                                                                ~MBytes
             Camera source device
                                                          0   Use VFW Drivers

            j,Kodak DVC325 Digital Video Camera         Gl IVideo Settingsjf-- 1160
     1140    Audio source device

     1150
         jps4236/37/38
                   .
                                                        Gl IAudio SettingsJ---1170
      1180
            "':'orkmgJc:\Temp
           Directory       1                                         II    Browse I
            D~ue~e lc:\Program Files\VideoShare Praducer\Publish           Browse I
              1rec ory                                               I I
            1190


       Press the 'Record' button to begin recording or 'Import
                       Video' to load a video.
                                                                                       [2]

                                             FIG. 11
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 19 of 34 PageID #: 24


                                                        US 8,438,608 B2
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           SHARING A STREAMING VIDEO                                       can also be identified with an image that represents the con-
                                                                           tent or subject matter of the video, so that the video can
            CROSS-REFERENCE TO RELATED                                     readily be identified when held in a collection of videos. Such
                   APPLICATIONS                                            identifiers as file names that are useful in a computer file
                                                                           processing, storage and retrieval system can further identifY
   This application claims priority to and is a continuation of            the video. In addition or alternatively, the invention can
U.S. patentapplicationSer. No. 11/927,806, entitled "SHAR-                 employ such identifiers as a file handle, a storage location, an
ING A STREAMING VIDEO", filed Oct. 30, 2007 which                          interactive control, and a control object operating according
claims priority to and is a continuation of U.S. patent appli-             to the Component Object Model (COM).
cation Ser. No. 09/803,243, entitled "SHARING A                       10      In one aspect, the invention relates to a method of sharing
STREAMING VIDEO", filed Mar. 9, 2001, which benefits                       a video segment over a computer network. The network
and claims priority to provisional U.S. patent application No.             includes a receiving computer and a plurality of other com-
60/188,082, entitled "SHARING A STREAMING VIDEO",                          puters including a destination computer. The method includes
filed Mar. 9, 2000, the entirety of which are incorporated                 the steps of (a) receiving at the receiving computer the video
herein by reference.                                                  15   segment sent over the computer network from one of the
                                                                           plurality of other computers; (b) performing automatically at
                     TECHNICAL FIELD                                       the receiving computer, in response to a command received
                                                                           over the network, the steps of (b1) assuring that the video
   This invention relates generally to the distribution of video           segment is in a streaming video format; (b2) creating at least
segments. More particularly, the invention relates to sharing         20   an identification tag for the video segment to identifY the
video in streaming video format over a network.                            video segment; (b3) storing the video segment under the
                                                                           control of the receiving computer in the streaming video
             BACKGROUND INFORMATION                                        format; and (b4) returning the identification tag to the one of
                                                                           the plurality of other computers; (c) receiving the identifica-
   A video can be sent over a computer network as a file              25   tion tag at the receiving computer; and (d) in response to the
attachment to an electronic mail (e-mail) message. With this               receipt of the identification tag at the receiving computer,
type of transmission, the entire video file must be transmitted            streaming the video segment in the streaming video format
and received before the receiver can view the video. For large             over the network to the destination computer.
files, the time required to complete such transmissions can be                In one embodiment, the method further includes causing
longer than the actual playing time of the video. Also, this          30   the video segment to be displayed at the destination computer.
type of transmission typically requires multiple computer                  In one embodiment, the video segment comprises an image
programs to perform all of the necessary functions, including              with associated audio information. In one embodiment, the
an e-mail application program to send or receive the video in              video segment comprises a still image. The computer net-
computer file form, and a second program to play or display                work can include one of a wire connection, a cellular com-
the video from the received file attachment. With this type of        35   munication connection, a wireless networking connection,
transmission, it is difficult to control the delivery time of the          and a terrestrial satellite communication connection.
video, and it is difficult to share or forward the received video.            In one embodiment, step (a) comprises receiving the video
   A video can be posted to a World Wide Web ("Web") page.                 segment which includes an identifier. In one embodiment, the
In order to provide a video in this manner, a server computer              identifier comprises a selected one of an image, a file handle,
connected to the Web must be used to host the Web site, and           40   a storage location, an address, a Universal Resource Locator
software packages must exist and be used to prepare the                    (URL ), a file name, an interactive control, and a control object
video, and transmit it over the Web using the File Transfer                operating according to the Component Object Model (COM).
Protocol (FTP or ftp) or the HyperText Transfer Protocol                   In one embodiment, step (a) comprises receiving the video
(HTTP or http). To implement this type of video posting, at                segment which is sent in association with an electronic mail
least a detailed knowledge of various computer communica-             45   message. In one embodiment, step (a) comprises receiving
tion protocols is required.                                                the video segment which is sent in association with a Hyper-
                                                                           Text Markup Language (HTML) mail message. In one
                          SUMMARY                                          embodiment, step (a) comprises receiving the video segment
                                                                           which is sent in association with an upload form residing on
   It is an object of this invention to provide methods and           50   a World Wide Web (Web) page. In one embodiment, step (a)
systems for sharing video segments over a network. It is                   comprises receiving the video segment which is sent in asso-
another object of this invention to provide a user with the                ciation with a File Transfer Protocol (FTP) transfer. In one
ability to upload automatically a video segment over a net-                embodiment, step (a) comprises receiving the video segment
work onto a server, without any specialized skill or knowl-                which includes information supplied by a sender at the one of
edge on the part of the user. It also is an object of the invention   55   the plurality of other computers. The information can include
to store the automatically uploaded video segment either on                information describing a streaming format into which the
the server or remotely. The stored segment can then be                     receiving computer converts the video segment. The informa-
streamed over the network, for example the Internet, to a                  tion can include an identification of the sender. In one
destination computer such that a person at that destination                embodiment, the identification of the sender comprises a
computer can view the video segment.                                  60   proper name. In one embodiment, the identification of the
   In accordance with the present invention, full motion video             sender comprises a usemame. In one embodiment, the iden-
can be automatically uploaded to a video server and then                   tification of the sender comprises a password.
accessed by any number of viewers after each viewer has been                  In one embodiment, the information comprises a return
provided with an identifier of the video. The video identifier             address of the sender. The return address can be an e-mail
can in general be an identification tag which identifies where        65   address. In one embodiment, the information comprises an
and/or how the video can be accessed, for example a network                identifier of the video segment. The identifier can be a title.
address, or a universal resource locator ("URL"). The video                The identifier can be a name. The identifier can be a date the
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 20 of 34 PageID #: 25


                                                      US 8,438,608 B2
                               3                                                                     4
video segment was produced. The identifier can be a location          formats, the format based on a selected one of the receiving
relating to the video segment. The identifier can be a subject        computer responding to user settings at the destination com-
relating to the video segment.                                        puter, the receiving computer responding to display software
   In one embodiment, the information comprises a comment             installed on the destination computer, the receiving computer
about the video segment. In one embodiment, the information           responding to information received in association with the
comprises a period of time during which the video segment             receipt of the identification tag, and the receiving computer
will be available. In one embodiment, the information com-            determining an optimal viewing format for the destination
prises information relating to a priority order of processing a       computer of the formats available. In one embodiment, the
video segment by the receiving computer.                              receiving computer sends to the destination computer a video
   In one embodiment, the information comprises an instruc- 10 segment that is not in streaming format prior to the display of
tion for transmittal of a response. The instruction can include       the video segment.
a formatting instruction. The instruction can include a speed            In another aspect, the invention features a computerized
of transmission. The instruction can include a transmission           system for sharing a video over a computer network, com-
protocol to be used. The instruction can include a format of a        prising a receiving computer for communicating with one or
physical medium to be used in sending a physical machine- 15 more other computers over a computer network including a
readable copy of the video segment. The instruction can               destination computer, the receiving computer receiving a
include a resolution of the video segment. The instruction can        video segment from at least one of the one or more other
include an image quality of the video segment. The instruc-           computers, the receiving computer responsive to a commu-
tion can include a display format of the video segment on a           nication from the one or more other computers that can acti-
destination computer.                                              20 vate the receiving computer automatically, the receiving com-
   In one embodiment, the information comprises financial             puter comprising: (i) a control module that controls a
information. The financial information can include a credit           memory, the memory capable of holding computer instruc-
card number. The financial information can include a finan-           tions and data; (ii) a receiving module that receives a message
cial account identifier.                                              associated with the video segment sent from the at least one of
   In one embodiment, step (b 1) comprises converting the 25 the one or more other computers; (iii) an analyzer module that
video segment, if it is not in a streaming video format at the        determines whether the video segment is in a streaming video
time of receipt by the receiving computer, to a streaming             format; (iv) a format conversion module that converts a for-
video format, independent of a received command to perform            mat of the video segment to a format that is compatible with
such conversion. In one embodiment, step (bl) comprises               streaming video; (v) a storage module that stores the video
automatically converting the video segment from a first 30 segment in streaming video format in the memory module;
streaming video format characteristic of the video segment            (vi) an identification module that creates the identification tag
upon receipt at the receiving computer to a second streaming          identifying the video segment in streaming video format
video format.                                                         stored in the memory module; (vii) a transmitter module that
   In one embodiment, the method further comprises queuing            transmits over the network the identification tag to a computer
a second video segment and a command transmitted with the 35 of the one or more other computers; and (viii) a sharing
second video segment for processing by the receiving com-             module that streams the video segment in streaming video
puter according to steps (b) through (d) in the event that the        format to the destination computer in response to a return of
receiving computer is performing any of steps (b) through (d)         the identification tag to the receiving computer.
in response to receipt of a first video segment. In one embodi-          In one embodiment, the system further comprises an
ment, the method further comprises providing to a sender of 40 extraction module that extracts from the received message the
a video segment an estimate of a duration of the required             video segment and information sent with the video segment.
processing time for the conversion of the video segment. The          In one embodiment, the information sent with the video seg-
estimate is provided prior to performing any of steps (b)             ment comprises an identity of the user of the computer of the
through (d).                                                          one or more other computers. In one embodiment, the infor-
   In one embodiment, the method further comprises provid- 45 mation sent with the video segment comprises a return
ing to the destination computer of a video segment an esti-           address of the user of the computer of the one or more other
mate of a duration of the required processing time for the            computers. In one embodiment, the information sent with the
conversation of the video segment. In one embodiment, the             video segment comprises a title of the video segment. In one
video segment is converted into multiple video formats. The           embodiment, the information sent with the video segment
multiple video formats can include a format not compatible so comprises an identifier of the video segment. In one embodi-
with streaming video. In one embodiment, the identification           ment, the information sent with the video segment comprises
tag received by the destination computer is communicated by           a subject of the video segment. In one embodiment the infor-
the receiving computer in association with one of an elec-            mation sent with the video segment comprises a date of cre-
tronic mail message, an HTML electronic mail message, and             ation of the video segment. In one embodiment, the informa-
an instant message. The identification tag can be a hyperlink 55 tion sent with the video segment comprises a description of
provided in the message sent to the destination computer, the         the video segment.
hyperlink pointing to a Web page that causes the streaming of            In one embodiment, the analyzer module that determines
the video. In one embodiment, the video segment in stream-            whether the video segment is in a streaming video format
ing video format is streamed from the receiving computer as           determines if the video segment is in QuickTime format. In
information embedded in a message. In one embodiment, in 60 one embodiment, the analyzer module that determines
response to the receipt of the identification tag at the receiving    whether the video segment is in a streaming video format
computer, the video segment in a first streaming video format         determines if the video segment is in ASF format. In one
is converted into a video segment in a second streaming               embodiment, the analyzer module that determines whether
format by the receiving computer, and the video segment in            the video segment is in a streaming video format determines
the second video format is streamed to the destination com- 65 if the video segment is in WMF format. In one embodiment,
puter. In one embodiment, the receiving computer streams the          the analyzer module that determines whether the video seg-
video segment in a format of the available streaming video            ment is in a streaming video format determines if the video
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 21 of 34 PageID #: 26


                                                      US 8,438,608 B2
                               5                                                                        6
segment is in MPEG format. In one embodiment, the analyzer               embodiment, the sharing module that streams the video seg-
module that determines whether the video segment is in a                 ment in streaming video format to one computer of the one or
streaming format determines if the video segment is in Real              more other computers in response to a return of the identifi-
Networks (Real) format. In one embodiment, the analyzer                  cation tag comprises a module that streams the video segment
module that determines whether the video segment is in a                 at a selected performance level. In one embodiment, the shar-
streaming format determines if the video segment is in AVI               ing module that streams the video segment in streaming video
format.                                                                  format to one computer of the one or more other computers in
    In one embodiment, the format conversion module that                 response to a return of the identification tag comprises a
converts a format of a video segment from a format that is not           module that streams the video segment in a selected format.
compatible with streaming video to a format that is compat-         10
                                                                            The foregoing and other objects, aspects, features, and
ible with streaming video comprises a format conversion
                                                                         advantages of the invention will become more apparent from
module that creates a Direct Show filter graph that decom-
                                                                         the following description and from the claims.
presses the video file into an uncompressedAVI format file.
    In one embodiment, the identification module that creates
                                                                                 BRIEF DESCRIPTION OF THE FIGURES
an identification tag identifYing the video segment in stream-      15
ing video format stored in the memory module comprises a
module that selects a video frame from the video segment in                 The objects and features of the invention can be better
streaming video format. In one embodiment, the identifica-               understood with reference to the drawings described below,
tion module that creates an identification tag identifYing the           and to the claims. The drawings are not necessarily to scale,
video segment in streaming video format stored in the               20   emphasis instead generally being placed upon illustrating the
memory module comprises a module that identifies a location              principles of the invention. In the drawings, like numerals are
where the video segment is stored. In one embodiment, the                used to indicate like parts throughout the various views.
identification module that creates an identification tag iden-              FIG. 1A is a diagram of an embodiment ofthe invention,
tifYing the video segment in streaming video format stored in            showing the relationships between the components and their
the memory module comprises a module that identifies how            25   interactions with each other and with a sender and a viewer.
the video segment can be accessed. In one embodiment, the                   FIG. 1B shows illustrative embodiments of the invention,
identification module that creates an identification tag iden-           and describes the activities that occur in the various compo-
tifYing the video segment in streaming video format stored in            nents.
the memory module comprises a module that provides an                       FIG. 1C is a diagram showing software modules that are
image that represents the subject matter of the video segment.      30   resident on one or more of the mail server B 21, the processing
In one embodiment, the identification module that creates an             server C 30, and the streaming server D 40, according to an
identification tag identifYing the video segment in streaming            embodiment of the invention.
video format stored in the memory module comprises a mod-                   FIG. 1D shows an embodiment of a process and system
ule that generates a file name.                                          according to the invention.
    In one embodiment, the transmitter module that transmits        35      FIG. 2 is an embodiment of a system according to the
over the network the identification tag to at least one com-             invention, including the interactions and interrelationships
puter of the one or more other computers comprises a module              within the system.
that transmits the identification tag using an electronic mail              FIG. 3 is a functional block and flow diagram of an embodi-
message communication protocol. In one embodiment, the                   ment of the invention.
transmitter module that transmits over the network the iden-        40      FIG. 4 is a login screen on a user's computer, in one
tification tag to at least one computer of the one or more other         embodiment of the invention.
computers comprises a module that transmits the identifica-                 FIG. 5 is a record/playback screen as seen by the user, in
tion tag using a HyperText Markup Language (HTML) mail                   accordance with an embodiment of the invention.
message communication protocol. In one embodiment, the                      FIG. 6A is a flow diagram of an embodiment of the inven-
transmitter module that transmits over the network the iden-        45   tion in which software automates a number of steps in con-
tification tag to at least one computer of the one or more other         nection with the uploading of a video segment.
computers comprises a module that transmits the identifica-                 FIG. 6B is a flow diagram of another embodiment of the
tion tag using an upload form residing on a World Wide Web               invention in which software automates a number of steps in
(Web) page. In one embodiment, the transmitter module that               connection with the uploading of a video segment.
transmits over the network the identification tag to at least one   50      FIG. 6C is a flow diagram of an embodiment of the inven-
computer of the one or more other computers comprises a                  tion in which software automates a number of steps in con-
module that transmits the identification tag using a File Trans-         nection with the formatting of a video segment.
fer Protocol (FTP) transfer.                                                FIG. 6D shows the relationship of some of the files created
    In one embodiment, the sharing module that streams the               in the flow diagram of FIG. 6C.
video segment in streaming video format to one computer of          55      FIG. 6E is a flow diagram of a method by which an opti-
the one or more other computers in response to a return of the           mally formatted video segment is sent to a user according to
identification tag comprises a module that streams the video             the invention.
segment to a specified computer. In one embodiment, the                     FIG. 7 is a screen as seen by the user, the screen indicating
sharing module that streams the video segment in streaming               that file processing is occurring.
video format to one computer of the one or more other com-          60      FIG. 8 is an interactive screen used to determine the desires
puters in response to a return of the identification tag com-            of the individual who sends a video for storage.
prises a module that streams the video segment at a selected                FIG. 9 is a video playback screen seen by the user.
bitrate. In one embodiment, the sharing module that streams                 FIG. 10 is a screen used by the user to control the status of
the video segment in streaming video format to one computer              a video queue.
of the one or more other computers in response to a return of       65      FIG. 11 is a screen used by the user to control the opera-
the identification tag comprises a module that streams the               tional settings of equipment associated with the user's com-
video segment at a selected transmission quality. In one                 puter.
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 22 of 34 PageID #: 27


                                                        US 8,438,608 B2
                                7                                                                          8
                 DETAILED DESCRIPTION                                      according to the Component Object Model (COM), for
                                                                           example an Active X control. The streaming server D 40
    In the description presented below, there are references to            transmits the video in streaming video format to the machine-
software and software modules. One of ordinary skill in the                readable storage 50, which, at the direction of the streaming
computer arts understands that any functionality that can be               server D 40, can store the video in streaming video format and
operable by the use of software can also be made to operate by             also can store an identification tag for the video on itself or on
the use of firmware, such as software, commands, logic or                  the databases 60, 61. The identification tag, or another iden-
data encoded on a chip, and equally by the use of hardware,                tifier of the video, such as the thumbnail and/or the URL, is
such as a hard-wired circuit that is designed to perform a                 communicated back to the sender A's computer 10 by way of
specific task. It is also possible to provide some of the func-       10
                                                                           one or more of the streaming server D 40, the processing
tionality by use of software modules, and some of the func-
                                                                           server C 30, and the mail server B 21. The operator of sender
tionality by use of firmware modules and/or hardware mod-
                                                                           A's computer 10 can then use the identifier to request that the
ules. In general, a module is an assemblage of one or more
parts of software, firmware, and/or hardware that accom-                   video be streamed to sender A's computer 10 for viewing,
plishes a defined function or task.                                   15
                                                                           and/or the operator of sender A's computer 10 can provide the
    Turning to FIG. 1A, a sender ("sender A") using a com-                 identifier to another viewer, for example, by way of a Web
puter 10 sends a video segment in file form and any associated             page, or by an e-mail. In one embodiment, the identification
audio material (or a plurality of still images with their asso-            tag can be embedded in a Web page so that a visitor to the Web
ciated audio files) as, for example, an e-mail attachment to an            page can activate the identification tag, such as a link to a
e-mail message from sender A's computer 10 over a network             20   URL, and can transmit to the receiving computer the infor-
(such as the Internet or over any other communication                      mation required to cause the streaming of the video segment
medium that sender A's computer 10 can employ) to a mail                   to the computer of the Web page visitor for viewing. In the
server B 21. The network can include one or more of a wire                 case of an identifier such as a URL, the operator of sender A's
connection such as a hardwired connection, a cable connec-                 computer 10 additionally can communicate the identifier
tion using RS232, RS422 or RS 485 technology, and tele-               25   orally or in writing to another viewer. The other viewer can
phonic connections or cable connection using a modem. The                  then use the identifier to request that the video be streamed
network can include one or more wireless connections such as               from the streaming server D 40 to his or her computer for
a cellular communication connection, an infrared connection,               viewing.
a wireless Local Area Network (LAN) and Bluetooth tech-                       Turning to FIG. 1B, the system and method are described
nology. The network can include a terrestrial satellite com-          30   in more detail in a number of alternative exemplary embodi-
munication connection.                                                     ments. The video sent by sender A's computer 10 (whether
    The mail server B 21 performs various parsing and file                 sent by e-mail, by HTML message, by use of a Web page, or
recognition processes, described in greater detail below. The              by some similar or other mechanism operating over a net-
mail server B 21 is in bidirectional communication with a                  work) can include additional information provided by the
processing server C 30. The functions of the mail server B 21         35   user of sender A's computer 10. This additional information
can be performed by one or more server computers, and the                  includes, but is not limited to, the identification of the user of
functions of the processing server C 30 can be performed by                sender A's computer 10 (such as a proper name or a username
one or more server computers. In some embodiments, the                     and password registered with the server computer), the elec-
mail server B 21 and the processing server C 30 can be                     tronic return address of the user of sender A's computer 10
implemented on the same one or more server computers.                 40   (such as an e-mail address), a title or an identifier for the video
    The processing server C 30 performs various video and file             (such as a name, a date produced, a location, or a subject
conversion and identification processes, described in more                 relating to the video that the user of sender A's computer 10
detail below. The processing server C 30 is in bidirectional               will recognize), a description of the video and/or other com-
communication with a streaming server D 40. The functions                  ments by the user of sender A's computer 10 about the video,
of the streaming server D 40 can be performed by one or more          45   a description of how a response should be transmitted and/or
server computers. The streaming server D 40 receives the                   formatted (e.g., e-mail, Web page containing the video,
video in streaming video format from the processing server C               HTML e-mail with the video embedded, and the like), and
30, and returns to the processing serverC 30 atleastonevideo               any other information that may help to identify the user of
identifier that can be used to request the video to be streamed            sender A's computer 10 and/or the video.
to a viewer. The streaming server D 40 includes machine-              50      In an embodiment in which the video is submitted by
readable storage 50, such as one or more of a hard disk, a                 standard e-mail or HTML e-mail1200, the information that
CD-ROM, and a semiconductor memory. The machine-read-                      the user of sender A's computer 10 provides is in general
able storage 50 (a single example of which is shown for                    standard information that the e-mail format supports. The
simplicity) is in communication with one or more databases                 identity 1220 of the user of sender A's computer 10 and the
60, 61 (only two of which are shown for simplicity). Each of          55   return address 1240 of the user of sender A's computer 10 is
machine-readable storage 50 and the databases 60, 61 can be                automatically provided as part of the e-mail. The title or
local or remote, in that each can be implemented as a com-                 identifier of the video (e.g., name and subject matter) 1230
ponent that is connected directly to the streaming server D 40,            preferably can be provided as the subject of the e-mail, or
or each can be connected to the streaming server D 40 by way               alternatively within the body of the e-mail, or as an attach-
of a network                                                          60   ment such as a text file. The description of the video and/or
    The streaming server D 40 also creates one or more iden-               other comments by the user of sender A's computer 10 pref-
tifiers for the video file. The identifiers, which are discussed in        erably can be provided in the body of the e-mail. Alterna-
more detail below, can include, for example, one or more of                tively, the description and/or other information related to the
an image identifier (for example, a "thumbnail" or iconic                  video or to the user of sender A's computer 10 can be provided
image), an identification tag, a file handle, a storage location,     65   as part of the subject line of the e-mail, in the body of the
an address such as aUniversal Resource Locator (URL ), a file              e-mail message, or as an attachment to the e-mail message.
name, or an interactive control, or a control object operating             The video (and optionally audio) material is sent as an attach-
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 23 of 34 PageID #: 28


                                                       US 8,438,608 B2
                                9                                                                        10
ment 1250 to the e-mail. The recipient of the e-mail and                  ments, optional additional information, as well as informa-
attached video appears as the addressee 1210.                             tion that the user of sender A's computer 10 desires to submit
    In another embodiment in which the video is submitted by              ("take information" at box 1410). The server computer 1400
HTML form or message 1300, or by use of a Web page, the                   performs functions that are described in detail in the discus-
server computer 1400 provides a form which has specific                   sion below with respect to one or more computer programs,
interactive spaces or dialog boxes for each piece of informa-             (collectively) called the VideoS hare Producer, that operate on
tion, including the identity of the user of sender A's computer           a user's computer, such as a personal computer. In the present
10 and the return address 1320 of the user of sender A's                  invention, many of the functions described in detail for the
computer 10, the title of the video 1310 and/ or identifier of the        VideoS hare Producer are performed by one or more computer
video, and the description 1330 of the video and/or other            10   programs that operate on the server computer 1400. These
comments. The HTML message or the Web page can also                       functions, steps, or operations include, but are not limited to:
have space for additional information 1350, as well as                    determining whether the video is already in a format compat-
optional information that the user of sender A's computer 10              ible with streaming video ("define if video is streaming com-
desires to submit.                                                        patible format" at box 1420); if the video is not in a format
    The additional information can include, but is not limited       15   compatible with streaming video, automatically converting
to, payment information (e.g., credit card number, account                the video into a format that is compatible with streaming
number, or the like), specifications such as resolution and/or            video (No at box 1422 and "convert to format compatible with
image quality desired by the user of sender A's computer 10,              streaming video" at box 1425); passing the video to the next
and optional services desired, such as the provision of the files         process step if it is already in streaming video format (Yes at
in some additional optional form, such as recorded on CD-            20   box 1430); optionally compressing the video in streaming
ROM and sent to the user of sender A's computer 10 by postal              video format; creating an identification tag for the video in
serv1ce.                                                                  streaming video format; storing a copy of the video in stream-
    The optional information can also include information                 ing video format in an archival machine-readable storage 50;
indicating the streaming video format that the video segment              recording in a database 60, 61 the identification tag and the
should be converted into, information about the resolution,          25   storage location of the stored copy of the video in streaming
transmission bitrate, and video quality of the streaming video            video format for later retrieval; creating one or more identi-
format that is desired, and a period of time that the video               fiers, such as a "thumbnail," a URL, a file handle, or a file
segment should remain available. In one embodiment, an                    name for the video and recording the one or more identifiers;
instruction includes a display format of the video segment to             sending at least one of the one or more identifiers to sender
be displayed on a destination computer, such as information          30   A's computer 10 of the video at box 1440; and upon a request
about the size of the display in pixels or in linear measure such         in the form of a return of the identifier back to the server at box
as inches or centimeters, information about what portion of               1450, serving the video in streaming video format in response
the screen is to be used, such as the location on the screen, or          to the request at 1460 to the source of the request. In another
whether the full-screen is to be used, and the like. In one               embodiment, the request to stream the video segment comes
embodiment, the sender A using computer 10 is able to set            35   from a computer other than that of the sender A of the video
priorities about which video segments should be processed                 segment, and the streaming video is then served to the com-
first by the receiving computer. The form can include a                   puter other than that of the sender A. In addition to the pro-
browse button 1340 that allows the user of sender A's com-                cesses just described, the methods and systems of the inven-
puter 10 to browse a drive and its directories/subdirectories or          tion can also convert the video segment from a first streaming
other file storage location to more easily locate a file to be       40   video format to a second streaming video format, differing
sent. The browse button 1340 also activates a series of com-              from the first streaming video format in at least one of a file
puter commands that automatically retrieve and attach the file            format, an encoding scheme, a resolution, an image quality, a
to be sent to the HTML form.                                              transmission rate, and a file size. In some embodiments, a
    In an embodiment (not shown) in which the video is sub-               video segment is converted into a plurality of different for-
mitted by FTP, the server computer 1400 parses the various           45   mats, differing in one or more of the properties enumerated
parts of the FTP message, for example by identifying images               above, such as the file format, the file transmission quality and
as one of the various image file formats, by identifying audio            bitrate, and the like. In some embodiments, the conversion of
files as one of the many audio file formats, and by identifying           a video segment from one streaming video format to a differ-
and parsing text files.                                                   ent streaming video format is performed in response to a
    The system and method include functions that take place at       50   request for the video segment to be streamed in a specific
the server computer 1400 in FIG. lB. The server computer                  format.
1400 can be implemented using one or more server comput-                     The discussion below describes how a video can be exam-
ers. The capabilities that the server computer 1400 provides              ined to determine if it is or is not in a format compatible with
include all of the capabilities of the mail server B 21, the              streaming video format. The discussion below describes the
processing server C 30, the streaming server D 40, the               55   kinds of conversion that are done to convert a video that is not
machine-readable storage 50, and the databases 60, 61                     in a format compatible with streaming video format to a
described in FIG. lA. These capabilities include, but are not             format that is compatible. The discussion below describes the
limited to, performing the functions of: receiving the trans-             optional compression of a video segment. The discussion
mission of a video file, optionally with one or more audio                below describes the creation of an identification tag for a
files, in e-mail, HTML message, Web page format, or FTP              60   video and the use of the identification tag. The discussion
upload to the server computer ("receive information" at box               below describes storing a video in uncompressed or in com-
1405); extracting from the received message the video and all             pressed streaming video format, either locally or remotely
of the information sent with the video, including but not                 from the storage of the server computer. The discussion below
limited to, the identity of the user of sender A's computer 10,           describes recording in a database the identification tag and the
the return address of the user of sender A's computer 10, the        65   storage location of the stored copy of the video in streaming
title of the video or identifier of the video (such as subject,           video format for later retrieval. The discussion below
place, date, or the like), the description and/or other com-              describes creating one or more identifiers for the video and
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 24 of 34 PageID #: 29


                                                      US 8,438,608 B2
                              11                                                                       12
recording the one or more identifiers. The discussion below              sender A's computer 10), the sender's return address, the title
describes sending at least one of the one or more identifiers to         or identifier of the video, the description and/or other com-
the sender of the video. The discussion below describes serv-            ments, optional additional information, as well as informa-
ing the video in streaming video format in response to                   tion that the sender desires to submit. In general, if one has
requests to serve the video.                                             know ledge of the syntax of the message that one has received,
   In communicating over a network, a file can be transmitted            it is possible to parse the message into its component parts. In
along with information about the file between computers                  an embodiment that relies on conventional transmission for-
either through an e-mail attachment, by using an FTP client-             mats, such as e-mail, the message is parsed into the compo-
server program, or by using an upload mechanism placed on                nent parts according to a set of parameters that correspond to
the Web. In one embodiment, the systems and methods of the          10   the default encoding of the message format. If such parsing
invention can optionally convert a video in one streaming                fails to disclose one or more components, a second more
video format to a second streaming video format, as indicated            specialized computer program can search for a string that
by the arrow labeled "optional" that points from box 1430 to             corresponds to a title or identifier. For example, if the subject
box 1425. In one embodiment, if the segment is not in stream-            line is blank, there appears to be no sender-supplied title or
ing format at the time it is received by the receiving computer,    15   identifier, and the more specialized program could look for a
the receiving computer will automatically convert it into                string having a format like "(words) at (words)," such as "(My
streaming format. In one embodiment, even if the video seg-              family) at (the beach)," or the like. In an embodiment such as
ment is in streaming format upon receipt at the receiving                an HTML or Web page form, the parsing is direct in that each
computer, the receiving computer automatically converts the              dialog box has a prompt that the sender responds to, and the
video segment into another streaming video format. In some          20   content of each box is taken to be the requested information.
embodiments, the video segment can be converted into mul-                The server computer can check some of the information pro-
tiple video formats, including both formats compatible with              vided, such as an e-mail address, for example by inquiring of
streaming video and formats not compatible with streaming                the Internet Service Provider (ISP) serverwhetherthe address
video. In some embodiments, the destination computer is                  is valid. Information that is optional, or information such as a
notified that the segment is available in more than one format      25   title for a video, can be accepted without the necessity to
and that a user of the destination computer can select which-            confirm the accuracy or validity of the information.
ever format is preferred for the transmission.                               The server computer 1400 operates on the received mes-
   In the case where the video segment is available into mul-            sage with the video in the following manner, irrespective of
tiple formats at the receiving computer, the format that will be         whether the message is in e-mail, HTML mail, HTML Web
used in streaming the video segment to the destination com-         30   page submission format, or FTP. The server computer 1400
puter can be selected based on criteria that exist at the desti-         recovers the video and each of the pieces of information from
nation computer, including the possibility that the video seg-           the message. The server computer 1400 determines if the
ment should be downloaded to the destination computer in a               video is in a format compatible with streaming video, or not.
non-streaming format, and then displayed at the destination              If not, the server computer 1400 converts the video into a
computer when the entire video segment has been down-               35   format compatible with streaming video format. The server
loaded.                                                                  computer 1400 takes that form of the video that is compatible
   While a viewer can select a video format, in the event that           with streaming video format and optionally performs com-
the viewer does not know which format to select, or in the               pression of the video. The server computer 1400 takes the
event that a better viewing experience would result, a sug-              video in format compatible with streaming video format, in
gested format can be communicated to the receiving com-             40   uncompressed or optionally compressed condition, and cre-
puter from the destination computer. Example of such com-                ates one or more identifiers, which can include a "thumbnail"
munications can include a default viewer setting, such as a              image (described in the discussion below), a file name, a
default ASF format, if available, and a secondary preference             handle and the like, as well as other identifiers such as a
for a QuickTime format. In another embodiment, the receiv-               description of the video. The server computer 1400 creates an
ing computer makes a format recommendation to the desti-            45   identification tag, which it uses to identify the uncompressed
nation computer along with the transmission of the identifi-             or optionally compressed video in streaming video format for
cation tag. Such a recommendation can, for example, be a                 storage and retrieval purposes. The server computer 1400
communication that of the various streaming video formats                stores the uncompressed or optionally compressed video in
available (which can be enumerated) a particular format is               streaming video format locally or remotely in an archive. The
suggested as the preferred format. The receiving computer           50   server computer 1400 stores in a database the identification
can also determine a format for streaming a video segment in             tag and the location of the uncompressed or optionally com-
response to information that the receiving computer obtains              pressed video in streaming video format. The server com-
about the display software that is installed on the destination          puter 1400 sends to the sender one or more of the identifiers
computer, and the receiving computer can then recommend a                of the video. The identifiers can be sent to the sender in one or
format for which the destination computer already has dis-          55   more different formats, including an identifier such as a Uni-
play software. Another alternative is to determine a streaming           versal Resource Locator (URL) that is associated with the
video format that will provide an optimal viewing quality.               stored uncompressed or optionally compressed video in
Viewers who do not have appreciable technical information                streaming video format; an e-mail with information relating
regarding streaming video formats will be afforded guidance              to the location and/or command required to request that the
as to which one to use. This format detection mechanism is          60   video be streamed; the command to stream the video embed-
very similar to the speed detection mechanism described                  ded in an e-mail or a HTML message; the command to stream
elsewhere in this application.                                           the video embedded in a Web page, and the like. The infor-
   The systems and methods of the present invention use                  mation sent to the sender can include the "thumbnail" image
convention methods for such activity. The system and method              for ease of identification of the video and its subject matter.
of the present invention extract from the received message the      65       In some embodiments, if the receiving computer is already
video and all of the information sent with the video, including          processing a video segment at a time that another video seg-
but not limited to, the identity of the sender (e.g., the user of        ment is received, the second video segment and associated
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 25 of 34 PageID #: 30


                                                       US 8,438,608 B2
                               13                                                                       14
commands is queued to be processed later. This involves                   including software modules, can be recorded and retrieved for
queuing the video segment and any commands associated                     use by the servers 21, 30, 40. The software modules are
with the video segment in a storage location under the control            described below.
of the receiving computer. In some embodiments, if video                     A control module 1510 controls a memory, which can be
segments are queued under the control of the receiving com-               any conventional machine-readable memory such as RAM,
puter, the video segments can be processed in an order based              magnetic memory, or optical memory. The control module
on a priority set by the sending computer, a priority set by the          1510 can store and retrieve information from the memory.
receiving computer, or according to any other priority                    The memory is capable of holding computer instructions and
scheme, such as a calculation performed using an algorithm,               data, and as indicated above, can be located locally with
                                                                     10   respect to any of the servers, or remotely from the servers, but
that is implemented on the receiving computer.
                                                                          in any event the memory is accessible over the computer
   In some embodiments, the sender or the intended recipient
                                                                          network 22.
at a destination computer is notified of an estimate of how
                                                                             A receiving module 1520 can receive both a video segment
long the processing of a video segment is going to take, before           and an associated message. The video segment and the asso-
the video segment is actually processed. The notification can        15   ciated message can be sent from any one of the one or more
be provided by any method, such as by a return email sent                 other computers in the network 22 with which the servers 21,
upon receipt of the video segment at the receiving computer.              30, communicate. The receiving module 1520 can determine
As those familiar with the processing of video segments will              that the video segment and the associated message have been
appreciate, converting a video into streaming format can be               received correctly, and that the files are complete, for example
time-consuming, and if many computers submit their videos            20   by use of error detection and correction technology such as
at the same time, some requests for service may take some                 cyclic redundancy checking (CRCs) and coding.
time to process by the receiving computer. In this case, it is               An analyzer module 153 0 determines whether the received
important to be able to notify the sender or the destination              video segment is in a streaming video format. The determi-
computer of an approximate amount of time that providing                  nation of a format can be carried out by comparing the format
the required service will take. This is similar, but by no means     25   to known format characteristics and format identifiers. The
identical, to phone systems in which a caller is notified of the          analyzer module 1530 can determine whether the format of
approximate waiting time until the next operator will be avail-           the video segment is a particular format including, but not
able to respond to a call. In a system where a caller waits for           limited to, such formats as QuickTime format, ASF format,
a response by a human operator, who speaks with other call-               WMF format, MPEG format, a Real Networks (Real) format,
ers, there is only a statistical possibility of defining a waiting   30   anAVI format, an uncompressedAVI format, and formats not
time, because any call may be longer or shorter than an                   compatible with streaming video.
average, or expected, duration. In the methods and systems of                A format conversion module 1540 converts a format of the
the invention, a calculated estimate of a processing time can             video segment to a format that is compatible with streaming
be provided based on the file size and the format of a video              video. The format conversion can be a conversion from a
segment. For example, knowing the processing speed of a              35   format not compatible with streaming video to a format com-
CPU, and an estimate of the time or the number of processing              patible with streaming video, a conversion from a format not
operations required to convert a file of a predetermined for-             compatible with streaming video to a different format not
mat and size, a file having a given size of the same format               compatible with streaming video, a conversion from a format
could be expected to require a time proportional to the ratio of          compatible with streaming video to a different format com-
the file sizes, to a first approximation.                            40   patible with streaming video, or a conversion from a format
   In some embodiments, the identification tag is communi-                compatible with streaming video to a format not compatible
cated to the destination computer by the receiving computer               with streaming video. The format conversion can be per-
in association with one of an electronic mail message, an                 formed by subjecting a file having a known format to a trans-
HTML electronic mail message, and an instant message, such                formation that prepares an additional file encoded according
as a message communicated among members of an affinity               45   to a second known format. Such transformations are gener-
group of computer users who are contemporaneously on-line.                ally algorithmic in nature.
In one embodiment, the identification tag is an hyperlink                    A storage module 1550 stores the video segment in stream-
provided in the message sent to the destination computer, the             ing video format in the memory that is under the control of the
hyperlink pointing to a Web page that causes the streaming of             servers 21, 30, 40, control being exerted by way of the control
the video.                                                           50   module 1510.
   The sender of the video can request that the video be                     An identification module 1560 creates an identification tag
streamed to the sender, and the sender can additionally, or               identifying the video segment in streaming video format that
alternatively, provide the information needed to request the              is stored in the memory. As indicated below, the identification
server to stream the video to one or more other viewers. When             tag can take many forms, including a hyperlink provided in
the sender of the video, or a party who has been given the           55   the message sent to the destination computer, the hyperlink
requisite information, sends to the server computer a request             pointing to a Web page that causes the streaming of the video.
to stream of the video, the server computer streams the video             The identification module 1560 can select a video frame from
to the requester. It can also automatically submit the video to           the video segment in streaming video format as an identifi-
a third party service including but not limited to on-line                cation tag. The identification module 1560 can identifY a
auctions, on-line resume services, on-line dating services, or       60   location where the video segment is stored. The identification
on-line customer support centers.                                         module 1560 can identifY how the video segment can be
   FIG. 1C is a diagram 1500 showing software modules that                accessed. The identification module 1560 can provide an
are resident on one or more of the mail server B 21, the                  image that represents the subject matter of the video segment.
processing server C 30, and the streaming server D 40. The                The identification module 1560 can generate a file name.
software modules perform specific tasks. The servers 21, 30,         65      A transmitter module 1570 transmits over the network 22
40 are interconnected by a network 22 with a machine-read-                or another network such as the Web the identification tag to a
able memory, such as storage array 64, upon which software,               computer of the one or more other computers. The transmitter
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 26 of 34 PageID #: 31


                                                       US 8,438,608 B2
                              15                                                                       16
module 1570 can transmit the identification tag using an                 www.VideoShare.com 50 or that the user can obtain in other
electronic mail message communication protocol. The trans-               formats such as on a CD-ROM or bundled with other software
mitter module 1570 can transmit the identification tag using a           or hardware. The VideoShare Producer 20 software can be
HyperText Markup Language (HTML) mail message com-                       operated by the user under his control on his computer, in the
munication protocol. The transmitter module 1570 can trans-              computer system 10, in order to provide the capability of
mit the identification tag using an upload form residing on a            recording, converting, and optionally, compressing video
World Wide Web (Web) page. The transmitter module 1570                   segments, creating one or more identifiers for a video seg-
can transmit the identification tag using a File Transfer Pro-           ment, and transmitting a video segment with one or more of
tocol (FTP) transfer.                                                    the identifiers to a host computer 60 operating under the
   A sharing module 1580 streams the video segment in               10   control of a host such as www.VideoShare.com 50 for storage
streaming video format to the destination computer in                    at a location under the control of the host computer 60. The
response to a return of the identification tag to the receiving          host computer 60 will be described further below.
computer. The video segment is streamed over the network 22                 The computer in the computer system 10 of the user one
or another network such as the Web. The sharing module 1580              can be connected to one or more kinds of equipment for
can stream the video segment to a specified computer. The           15   generating video segments, such as a video camera such as a
sharing module 1580 can stream the video segment at a                    Web cam 12 or another type of video camera such as a
selected bitrate. The sharing module 1580 can stream the                 professional quality video camera. The computer in the com-
video segment at a selected transmission quality. The sharing            puter system 10 of the user can be connected to one or more
module 1580 can stream the video segment at a selected                   kinds of equipment for providing prerecorded video seg-
performance level. The sharing module 1580 can stream               20   ments, such as a video recorder 14, or another computer that
streams the video segment in a selected format.                          can create digital video segments through the use of suitable
    In this document there are references to methods and sys-            software, such as for example digital video segments that
tems that operate on the computer of the user. There are                 have been created for various commercial films, or the like.
references to software called Videoshare Producer that oper-             Once the user has obtained a video segment, and has manipu-
ates on the computer of a user. It should be understood that        25   lated it according to the procedures described below with
any system, process or capability that can be carried out on the         regard to the operation of the VideoShare software package,
user's computer in relation to the VideoShare Producer soft-             or its equivalent, the video segment with one or more identi-
ware can equally well be carried out on a host computer that             fiers is transmitted to the host computer 60.
includes one or more server computers that communicate                      The host computer 60 includes one or more server com-
over a network such as the Web with other computers. That is,       30   puters 62, 62', 62" that communicate over a network such as
any process performed on a user computer by software such                the Web with other computers, such as the computer in the
as the Video Share Producer can also be performed on a host              user's computer system 10. The one or more server computers
computer that includes servers.                                          62, 62', 62" also communicate with a storage array 64, or
    This document makes reference to processing of a video               optionally with a plurality of storage arrays substantially
file on the user computer before the video file is uploaded to      35   similar to storage array 64. The storage array 64 can be any
a host computer. It should be understood that it is also pos-            convenient storage system, such as a redundant array of mag-
sible to upload the video file without performing all of the             netic storage disks, one or more readable and writeable CD-
processing described at the user computer, but rather per-               ROMs, random access semiconductor memory, any combi-
forming the processing at the host computer after the video              nation of such storage devices, or the like. In one
has been uploaded.                                                  40   embodiment, the host computer 60 operates the www.Vid-
    Referring to FIG. 1D, a user of the system, such as a private        eoShare.com 50 web site, and provides a video hosting ser-
individual working from home, or a professional working                  vice to one or more users. The host computer 60 can connect
from a business, employs a computer system 10. The com-                  over the Web and the web site www.VideoShare.com 50 to
puter system 10 can include a computer which can be a                    one or more computers that comprise the Web, conceptually
personal computer of conventional type such as a desktop or         45   denoted by the box 70, which, while not a part of the
laptop computer, a hand held device such as a PDA, or a more             www.VideoShare.com 50 Web site, appears to be transparent
powerful computer such as a workstation, a server, a mini-               to users of the www.VideoShare.com 50 Web site, as well as
computer, a mainframe, or the like. The computer system 10               to viewers of video segments that are being hosted by the host
can operate software including a web browser such as                     computer 60.
Microsoft Internet Explorer or Netscape Navigator or Com-           50      Viewers, or individuals who desire, or are invited, to view
municator or the like, for communication over a network such             video segments hosted on the host computer 60, can access
as the Internet using the World Wide Web (hereinafter "the               video segments hosted on the host computer 60. As will be
Web"), or to permit wireless communication. The computer                 described in more detail below, in one embodiment, video
system 10 can operate software that can manipulate video                 segments can be hosted on host computer 60 in areas that are
segment files. The computer system 10 can communicate               55   open to the public, or can be hosted in other areas that are open
with video sources, such a video cameras and video recording             only to viewers who have the appropriate permission or
machines, if the user wishes to employ such sources. Con-                authorization to view a specific video segment. A hosted
ventional commercially available personal computers typi-                video segment that is stored and controlled by the host com-
cally have sufficient capability to meet these requirements.             puter 60 may be delivered to and displayed for a viewer in a
The computer system 10 can also employ video segments               60   variety of formats, and through a variety of methods, as
generated digitally by the computer and appropriate software,            denoted generally by the box 80. In different embodiments, a
or by another computer, if the user wishes to employ such                video segment can be displayed as: a video greeting card 81,
techniques. In one embodiment, the computer system 10                    such as a person wishing another a happy birthday; as video
operates a software package called Video Share Producer 20,              email 82, as video that can be viewed on a remote website 83
which will be described and explained in more detail below.         65   (e.g., a video segment embedded into the remote website so
    The VideoShare Producer 20 is a software application                 that a viewer who visits the remote website sees the video
package that the user can download from the Web site                     segment as part of the page that is presented); as video com-
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 27 of 34 PageID #: 32


                                                       US 8,438,608 B2
                               17                                                                       18
merce 84, for example a video that depicts a person describing            viewer observe. The streaming video segment can in one
his or her experience and training as part of a resume submit-            embodiment be delivered as part of a video greeting card 81.
ted on-line; or as a video advertisement 85, for example a                In an alternative embodiment, the video can be delivered as a
video depicting the benefits or showing the use of a product.             streaming video directly to the viewer from the host computer
Many other like applications of the technology can be envi-               60, without the viewer having to activate the host computer
sioned. In various embodiments, the video segment can be                  60.
made available to the viewer as a streaming video that is sent               As shown in FIG. 3, the user can obtain a copy of the
to the viewer, or may be made available by sending the viewer             Video Share Producer 20 software by downloading a copy of
a message such as an email that contains an address of a                  the software from the Website www.VideoShare.com 50, as
location to visit on the Web (e.g., a Universal Resource Loca-       10   indicated by the picture at numeral 1. Alternatively, the user
tor, or URL ), or may be made available by sending the viewer             can obtain a copy of the Video Share Producer 20 software on
a message that contains an embedded link to a URL, for                    machine readable media such as a CD-ROM or the like. The
example by sending an e-mail containing the link or by send-              Video Share Producer 20 software can be bundled with one or
ing a still image that may have some interest to a viewer (e.g.,          more utility or application programs that are useful for a user
sending a grandmother a still image of her grandchildren) to         15   to have, such as a "container" application so that the Vid-
which a link is attached (e.g., the still image is linked to a            eoShare Producer 20 software can be operated on a desktop
streaming video of the grandchildren that is delivered and that           computer. The user can install the VideoShare Producer 20
plays when the still image is clicked). In the latter two meth-           software on his or her computer 16 and can register with the
ods of making a video segment available, or in like methods,              Video Share. com hosting service at no charge. In registering
the viewer must take some action, such as employing the URL          20   for the VideoShare service, the user obtains a username and a
or activating the link. In some embodiments, the viewer can               password that can be used to identify the user. The activity of
use a hand held device such as a PDA or a cellular telephone              installing the VideoShare Producer 20 software on the user's
that can connect to a network such as the Internet to view the            personal computer or the like and registering with the Vid-
video segment.                                                            eoShare system is indicated by the picture at the numeral 2.
    In FIG. 2, the computer 16 of the user's computer system         25       In order to use the system, the user first obtains a video
10 is shown. The box 18 is intended to schematically depict a             segment. The user can create the video segment, for example
user of a computer video input device, which device can be                with a Web cam 12, or the user can use an existing video
the computer 16 operating suitable software to generate digi-             segment obtained from a video recorder 16, as indicated by
tal video, or can be another such computer, or can be the web             the picture at the numeral 3. The VideoShare Producer 20
cam or video camera 12, or can be the video recording device         30   software has direct capture capabilities that permit the user to
14, or the like. The user begins by producing and/or recording            create the video segment.
a video segment on the hard disk of the computer 16 or within                 The user can employ the Video Share Producer 20 software
the temporary memory of a handheld device. As a second                    to optionally compress the video; to determine if a video
step, the video segment of step 1 can optionally be com-                  segment is in a format that is compatible with streaming
pressed and/or can be changed as regards the computer file           35   video; to convert the video to a file format that is compatible
format in which it is recorded on the hard disk. As a third step,         with streaming video if the video segment is not already in a
the video segment recorded on the hard drive of the computer              file format that is compatible with streaming video; and to
16 is transmitted with one or more identifiers to the host                transmit the video segment together with one or more iden-
computer 60 that includes the Video Share servers 62, 62' and             tifiers that represent selections that the user can make (for
the storage array 64. The video segment is stored nnder the          40   example, a still image selected from the series of images that
control of the host computer 60, which can generate an iden-              comprise the video segment, an identifier of the sender of the
tification tag that the host computer 60 can use to locate the            video segment (e.g., the user), an access privilege associated
stored video segment for retrieval and for viewing. In differ-            with the video segment, information indicative of a time
ent embodiments, the identification tag can be provided to a              period during which the video segment will be accessible, and
user in the form of a URL, or can be embedded into a Web             45   information indicative of a number of instances that the video
page on a remote site, or can be linked to a message. In one              segment may be accessed). The activities carried out in con-
embodiment the message can be a still image that can be                   junction with the VideoShare Producer 20 software are gen-
selected from the video segment. The third step is schemati-              erally indicated by the graphic at numeral 4.
cally depicted by the arrow pointing generally from the com-                  The video segment and the identifier(s) are transmitted to
puter 16 to the VideoS hare servers 62, 62'. As a fourth step, the   50   the host computer 60 for storage and for later distribution. In
user who stored the video can send a message to an intended               one embodiment, the video segment is transmitted in a
viewer, so that the viewer can access and view the video                  streaming video file format. This transmission activity is
segment. The fourth step is schematically depicted by the                 denoted by the graphic at numeral 5.
arrow pointing generally from the computer 16 to the com-                     The video segment is stored nnder the control of the host
puter 90 of the viewer. The box 92 is intended to schemati-          55   computer 60, which can include one or more server comput-
cally depict a user of a display device. In one embodiment, the           ers 62 and storage array 64. The activity of receiving the video
display device can be the computer 90, or the display device              segment at the host computer 60 and storing the video seg-
can be a display device such as a Web TV, or can be a video               ment and its identifier(s) is denoted by the pictures at numeral
output device such as a television set with a suitable decoder,           6.
or the like. The display device can also be a wireless hand held     60      Depending on the choice of the user as to access privileges,
device such as a PDA or a cellular telephone or the like. In a            the video segment can be stored as a publicly available video
fifth step, the viewer activates the viewing of the video seg-            in a location in storage array 64 that has no restrictions on
ment. The viewer's action is indicated schematically by the               access, or it can be stored in a portion of storage array 64 that
arrow pointing generally from the computer 90 to the server               requires some form of authorization to enable access, such as
computer 62, 62'. In one embodiment the viewer activates a           65   in a private email account area. The storage of the video
link by clicking a button, and the server computer 62, 62'                segment as a public or private video segment is denoted by the
responds by sending a streaming video segment that the                    pictures at numeral 7.
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 28 of 34 PageID #: 33


                                                       US 8,438,608 B2
                               19                                                                       20
   Upon request from a viewer who has the proper authoriza-                  Also at this point, the user can choose to work offline by
tion, or upon any request in the case of a video segment                  checking box 440 "Work offline", which suspends commu-
available publicly, the host computer 60 sends the video in               nications to the VideoS hare Upload/Database Server until the
streaming video format to a viewer, who can observe the                   user has filled his or her "Sharing Queue" as described later.
video in real time using a conventional web browser without               The ability to work offline is principally of use for people with
additional plug-in modules. The activity of serving the video             computers that do not have a continuously open Internet
segment as a streaming video is denoted by the graphic at                 connection, e.g. computers that use telephone modems rather
numeralS.                                                                 than high speed connections or equipment such as cellular
   The majority of the VideoShare Producer 20 software was                telephones or hand held devices that require the user to dial in
developed as a Windows 95, Windows 98, and Windows 2000              10
                                                                          to establish a connection. With this login dialog, the user can
("Windows 9x/2000") compatible ActiveX control (e.g. an
                                                                          also receive help, by activating the "Help" button 450, taking
OCX file), with additional components existing as active
                                                                          the user to a web page on the VideoShare web site. The login
template library (ATL) component object model (COM)
components that are instantiated during runtime. A "con-                  dialog box can also be used to create a new VideoShare user
tainer application," named "VideoProducer.exe," allows the           15
                                                                          account, by clicking the "Create Another Account" button
VideoShare Producer ActiveX Control to be executed from                   460.
the Windows 9x/2000 desktop. The VideoShare Producer                         Once the login process has been completed, the Vid-
Active X Control can also be embedded into a web page, as is              eoShare Producer 20 software looks for available DirectS how
done within the www.VideoShare.com 50 web site.                           audio and video capture devices. These available devices are
   The custom written VideoShare Producer 20 software                20   enumerated and listed within the "Settings Tab" as described
includes the following binary/source code components: (1)                 later. The Video Share Producer 20 software initializes the
VideoShare Producer ActiveX Control (VideoProducer.ocx);                  audio and video capture device, by recalling as a default the
(2) JPEG ATL COM component jpeg.dll); (3) Thumbnail                       device that was used most recently.
Acquisition DirectShow (ThumbnailFilter.ax); (4) Extended                    VideoShare Producer Preview/Capture/Import Process
MAPI interface (MapiExAPI.dll); (5) ICQ interface (icq-              25      After the capture device initialization, the VideoS hare Pro-
glue.dll); AND (6) VideoS hare Upload/Database Server (vps-               ducer 20 software displays the window depicted in FIG. 5.
erver.exe ).                                                                 The image 510 in the middle of the window is the video
   All components, except for significant portions of the                 input stream from the initialized, default video capture
JPEG component that uses public domain source code, were                  source. The image in FIG. 5 is that of an employee of the
entirely written by Video Share Inc. The Video Share Upload/         30   assignee of the present invention, in the offices of the
Data Server constantly runs at the VideoShare Hosting Facil-              assignee. The VideoShare Producer 20 software automati-
ity, an embodiment of the host computer 60, with which an                 cally builds a DirectShow "preview graph" where the video
installed instance of the VideoS hare Producer 20 software on             stream from the video device is displayed on the screen, but is
a user's computer 16 can be in constant communication. The                not saved to disk. This gives the user the opportunity to adjust
VideoShare Producer 20 software client/server structure              35   the camera, e.g. an opportunity to correct the camera position,
allows the user to upload videos to his or her account through            the camera focus, the camera angle, the magnification of the
the "Save and Share" button that is described later.                      image, and the like.
   The VideoShare Producer 20 software is built upon the                     At the top of this window, the user is presented with five
following third-party technologies that provide lower-level               different "tabs", each presenting the user with different
device support, document sharing, and file format conver-            40   aspects of the Video Share Producer 20 software. In FIG. 5,
sion: (1) Microsoft's DirectShow; (2) Microsoft's Windows                 the tab labeled "Record/Playback" 520 is active, indicating
Media Technologies; (3) Microsoft's Video for Windows; (4)                that the Video Share Producer 20 software is ready to acquire
MAPI; AND (5) ICQ.                                                        and/or display a video segment.
   When the user launches the Video Share Producer 20 soft-                  At the bottom of the window, there is a status message 522
ware, he or she will see the window depicted in FIG. 4 appear        45   that displays the current operation of the VideoShare Pro-
on his or her computer 16 operating the Win9x/2000 operat-                ducer 20 software. In FIG. 5, the status message 522 prompts
ing system. The login screen can be made optional for repeat              the user to either activate the Record button 531 to create a
users by providing a unique identifier for the user, such as a            new video segment, or to import an existing video segment by
password, or by installing on the user's computer or the like a           activating the Import Video button 535, both of which are
record similar to the "cookies" used by some interactive com-        50   described in more detail below.
puter systems operating on a network such as the Internet.                   Directly below the video preview image 510 is a Capture/
   When the user enters in his or herusername in the box 410              Playback Control Panel530 that includes the following items:
labeled VideoShare Login Name and his or her password in                     Record button 531 which begins a new audio/video cap-
the box 415 labeled VideoShare Password and activates the                 ture;
"Start VideoS hare Producer" button 420, the VideoS hare Pro-        55      Stop button 532 which terminates an active audio/video
ducer 20 software opens a TCP/IP socket connection to the                 capture operation;
VideoS hare Upload/Database Server using port 80 in order to                 Play button 533 which initiates the playing back of the last
avoid typical Firewall and/or Proxy Server problems. If the               recorded or imported video;
box 430 labeled Remember password is checked, the Vid-                       Delete button 534 which cancels the last record or import
eoShare Producer 20 software will remember the user's pass-          60   operation and begins a new video preview;
word, eliminating the necessity to type in that information                  Import Video button 535 which allows the user to select a
each time the software is started. The VideoShare Upload/                 pre-existing video file from his or her hard drive;
Database Server then verifies the validity of the username/                  Save and Share button 536, which in the present embodi-
password. Furthermore, the VideoShare Producer 20 soft-                   ment activates software modules that convert the current
ware will notifY the user if there is a more recent version of the   65   video file into a compressed streaming format, upload that
software available, giving him or her the opportunity to auto-            converted file to the VideoShare web site, and give the user
matically download and install the new software.                          options to distribute that video to other people; and
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 29 of 34 PageID #: 34


                                                      US 8,438,608 B2
                              21                                                                        22
    Shuttle Bar 537 which is used to control the current posi-           selected video segment is not compatible with a streaming
tion of the playback file together with forward button 537 and           video format, it is converted to a compatible format, as
reverse button 538, allowing the user to rewind and fast for-            depicted by the arrow labeled "NO" that points from the
ward through the current video.                                          diamond 610 to the box 615, "Convert to compatible file
    The software modules that operate upon the activation of             format." The conversion process performed by the Vid-
Save and Share button 536 will be covered in a subsequent                eoShare Producer 20 software creates a DirectShow filter
section in this document in detail.                                      graph that decompresses the video file into a temporary,
    When the user begins to record a video, the VideoShare               uncompressedAVI file.
Producer 20 software builds a new "Capture Graph" that
                                                                             The video segment file in a format that is compatible with
renders the video stream to both the display window as well as      10
                                                                         streaming video is then temporarily stored in the user's com-
to a temporary AVI file on the user's hard drive. The audio/
                                                                         puter 16, for example as a file on the hard drive of computer
video capturing continues until the user activates the "Stop"
                                                                         16. This storing step is performed if the file was originally in
button 532 at which point the VideoShare Producer 20 soft-
ware stops the "Capture Graph", destroys the DirectShow                  a format compatible with streaming video by following the
filter, builds a Direct Show "Playback Graph", and displays         15
                                                                         arrow marked "YES" that points from the diamond 610 to the
the first frame of the captured video as video preview image             box 620, "Temporarily store file." Alternatively, the storing
510. When the user activates the Play button 533 the Direct-             step is performed if the file was originally not in a format
Show "Playback Graph" is put into running mode, playing                  compatible with streaming video by following the arrow that
back the entire recorded video from beginning to end.                    points from the box 615 to the box 620.
    The user can also choose to import a pre-existing video,        20       The stored temporary file representing the selected video is
which in one embodiment can be a file format selected from               then analyzed by the VideoShare Producer 20 software, as
the AVI, MPEG, or QuickTime file formats, by activating the              represented by diamond 625, "Should file be compressed?" to
Import Video button 535. The Video Share Producer 20 soft-               determine if the temporarily stored file should be compressed.
ware automatically renders the correct DirectShow filter to              If the software determines that the file should be compressed,
display an imported video correctly.                                25   as indicated by the arrow labeled "YES" that points from the
    Save and Share Process                                               diamond 625 to the box 630, labeled "Compress file," the file
    Once a video segment has been recorded or imported into              is compressed. The compression involves compressing the
the user's computer 16 that is running the VideoShare Pro-               video file to a user-specified bitrate, or the bandwidth that is
ducer 20 software, the user can choose to process the video              required to view the video without disruption in the transmis-
segment with various optional alternatives by activating the        30   sian. The user can select the desired bitrate by using the
Save and Share button 536. When the Save and Share button                "Settings Tab" that is described in more detail below.
536 is activated, the video segment is archived and distributed              The file is then converted to a streaming multimedia format
automatically. The Video Share Producer 20 software greatly              file as indicated by the box 635, labeled "Convert file to
simplifies the entire process by seamlessly automating the               streaming multimedia format ("SMF") file," as denoted by
following steps that are depicted in FIG. 6A:                       35   the arrow pointing from the box 630 to the box 635. If the file
    Video file format conversion, as required;                           is not to be compressed, the flow follows the arrow labeled
    Compression to a streaming multimedia format at a user-              "NO" pointing from the diamond 625 to the box 635, and the
specified bitrate;                                                       file is then converted to a streaming multimedia format file as
    Creating a "Thumbnail" JPEG snapshot of the video file, as           schematically represented by the box 635.
an identifier that a user or a viewer can observe in order to       40       The process that is performed by the Video Share Producer
assess the content of the video segment;                                 20 software as denoted by the box 635 involves reading in the
    Transferring the resultant video and thumbnail files to the          video file, frame by frame, and converting the video into a
VideoShare server computers 62, 62;                                      streaming multimedia format. In one embodiment, the Vid-
    Logging the transactions and managing the user's storage             eoShare Producer 20 software uses the Windows Media
account, including causing the generation of an identification      45   Streaming Format, known as ASF or WMF, but it is not
tag that the server computers 62, 62' can employ to retrieve             technologically restricted to this choice. The Windows Media
the video segment for viewing; and                                       Streaming Format comprises MPEG 4 v3 for the video stream
    Automating several possible methods of distributing the              and the Windows Media Audio format for the audio stream.
video to third party recipients, e.g., viewers.                          The output of this file is stored as a temporary file on the user's
    FIG. 6A shows a flow diagram 600 of an embodiment of            50   hard drive, in one embodiment.
the invention in which the Video Share Producer 20 software                  The flow diagram indicates that the process makes a
automates a number of steps in connection with uploading a               "thumbnail" of the video file, as represented schematically by
video segment by activation of the Save and Share button 536             the box 640, labeled "Create and temporarily store JPEG
described in FIG. 5. As indicated at box 605, a user first               "thumbnail" identifier." The VideoShare Producer 20 soft-
obtains and selects a video segment for processing for distri-      55   ware produces a JPEG still image that is used as a reference
bution. The box 605 schematically encapsulates all of the                image to the entire video file. It is an identifier of the subject
actions that a user takes as described in relation to FIGS. 4 and        matter or content of the video that a user or a viewer can
5 above. When the user activates the Save and Share button               readily recognize, as compared to an alphanumeric string
536 the actions described below that are enclosed by the                 such as a typical string used to identifY a file by its drive,
dotted line 607 are automatically carried out under the control     60   directory (and one or more subdirectories) and filename. Such
of the VideoShare Producer 20 software.                                  alphanumeric identifiers are useful, but may be totally unin-
    The VideoS hare Producer 20 software subjects the selected           formative as to the content or subject matter contained in the
video segment to analysis to determine whether the selected              identified file or video segment. In one embodiment, the
video segment is or is not in a file format that is compatible           Video Share Producer 20 software creates the "thumbnail" by
with a streaming video format, as indicated at diamond 610.         65   taking the "middle" image of the entire video file, as mea-
Formats that are compatible with streaming media formats                 sured by the temporal duration of the file. In another embodi-
include formats such as MPEGs and QuickTime videos. If the               ment, the selection of an image from which to make the
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 30 of 34 PageID #: 35


                                                      US 8,438,608 B2
                              23                                                                       24
"thumbnail" can be left to the discretion of the user. This              to the server or host computer 60. The user then obtains and
JPEG file is also stored as a temporary file on the user's hard          selects a video segment for processing for distribution, as
drive, in one embodiment.                                                indicated at box 605 that schematically encapsulates all of the
    The next part of the process is the upload operation, in             actions that a user takes as described in relation to FIGS. 4 and
which the Video Share Producer 20 software contacts the host             5 above. When the user activates the Save and Share button
computer 60, which in one embodiment is the VideoShare                   536 the actions described below that are enclosed by the
Upload/Database Server at the VideoShare hosting facility.               dotted line 608 are automatically carried out under the control
This portion of the automated process is denoted by the box              of the VideoShare Producer 20 software.
645labeled "Transfer ("upload") temporarily stored SMF file                 As discussed in relation to FIG. 6A, the VideoShare Pro-
and JPEG thumbnail identifier to host computer 60." The             10
                                                                         ducer 20 software subjects the selected video segment to
VideoShare Producer 20 software notifies the host computer
                                                                         analysis to determine whether the selected video segment is
60 that the user wishes to place his or her video into a reposi-
                                                                         or is not in a file format that is compatible with a streaming
tory maintained by the host computer 60, which in one
embodiment can be the VideoShare VideoCenter, which is a                 video format, as indicated at diamond 610. If the selected
repository of all recorded and uploaded videos to date. This        15
                                                                         video segment is not compatible with a streaming video for-
upload is performed automatically using a direct TCP/IP                  mat, it is converted to a compatible format, as depicted by the
socket connection over a specific connection port ofthe user's           arrow labeled "NO" that points from the diamond 610 to the
computer known as port 80. The VideoShare Producer 20                    box 615, "Convert to compatible file format." The conversion
software uses a standard communications protocol to perform              process performed by the VideoShare Producer 20 software
this transfer to the host computer 60. In another embodiment,       20   creates a DirectShow filter graph that decompresses the video
a proprietary protocol can be used, for example if one wants             file into a temporary, uncompressedAVI file.
to maintain the security of information contained in the video               The video segment file in a format that is compatible with
segment. In another embodiment, the video segment can be                 streaming video is then temporarily stored in the user's com-
encrypted in order to provide enhanced security. Both the                puter 16, for example as a file on the hard drive of computer
compressed video streaming multimedia file and the thumb-           25   16. This storing step is performed if the file was originally in
nail image are uploaded at substantially the same time.                  a format compatible with streaming video by following the
   As schematically depicted by box 650, labeled "Delete                 arrow marked "YES" that points from the diamond 610 to the
temporary file to conserve storage space on user's computer,"            box 620, "Temporarily store file." Alternatively, the storing
the Video Share Producer 20 software removes all of the tem-             step is performed if the file was originally not in a format
porary files that were created in the course of the automated       30   compatible with streaming video by following the arrow that
processing described above. This feature provides for the user           points from the box 615 to the box 620.
a convenient, secure, and transparent process, with the benefit              The stored temporary file representing the selected video is
that the user's computer storage device( s), for example one or          then analyzed by the VideoShare Producer 20 software, and
more hard drives, do not become cluttered with unnecessary               optionally compressed as represented by the box 623 labeled
and obsolete files.                                                 35   "Optional compression of file." The file is then converted to a
    Once the upload has been completed, the VideoShare Pro-              streaming multimedia format file as indicated by the box 635,
ducer 20 software and the host computer 60 (for example, the             labeled Convert file to streaming multimedia format ("SMF")
VideoShare Upload/Database Server) will update the user's                file. Alternatively, a file from the box 620 can be uploaded to
account to account for the required storage space that the               the host computer 60 without being converted to a streaming
video requires. The necessary logging, creation of an identi-       40   format, and the conversion to a streaming video format can be
fication tag, and storing of the video and the associated iden-          accomplished at the host computer 60. The process that is
tifier or identifiers is also performed automatically, as sche-          performed by the VideoShare Producer 20 software as
matically depicted by box 655.                                           denoted by the box 635 involves reading in the video file,
    The user can optionally add additional identification and            frame by frame, and converting the video into a streaming
control information about the user, and about how and under         45   multimedia format.
what conditions the video is to be made available for distri-                The flow diagram indicates that the process makes a
bution, as schematically indicated by box 660. The process by            "thumbnail" of the video file, as represented schematically by
which some of this information is collected is discussed                 the box 640, labeled Create and temporarily store JPEG
below with regard to FIG. 8. The user is automatically                   "thumbnail" identifier.
prompted to provide this information, but has the option to         50       The next part of the process is the upload operation, in
forego making a decision immediately. The transmission of                which the Video Share Producer 20 software contacts the host
video segment files to viewers is discussed in more detail               computer 60, which in one embodiment is the VideoShare
below, and is represented in FIG. 6 by the box 670 labeled               Upload/Database Server at the VideoShare hosting facility.
"Transmit file to viewer" which is outside the region 607 as an          This portion of the automated process is denoted by the box
indication that the transmission of files to viewers is an action   55   645labeled "Transfer ("upload") temporarily stored SMF file
beyond the material discussed above in conjunction with the              and JPEG thumbnail identifier to host computer 60 ." Both the
Save and Share button 536 of FIG. 5.                                     compressed video streaming multimedia file and the thumb-
    FIG. 6B shows a flow diagram 601 of another embodiment               nail image are uploaded at substantially the same time.
of the invention in which software automates a number of                    As schematically depicted by box 650, labeled Delete tem-
steps in connection with uploading a video segment. Many of         60   porary file to conserve storage space on user's computer, the
the steps already described in connection with FIG. 6A also              VideoShare Producer 20 software removes all of the tempo-
occur in the embodiment depicted in FIG. 6B, and are num-                rary files that were created in the course of the automated
bered in the same manner as in FIG. 6A. In FIG. 6B, there is             processing described above. This feature provides for the user
first an optional step indicated by the box 604 labeled                  a convenient, secure, and transparent process, with the benefit
"Optional: User authentication with server" in which the User       65   that the user's computer storage device(s ), for example one or
is optionally required to provide identification, such as a user         more hard drives, do not become cluttered with unnecessary
name and password, that authenticates the identity of the user           and obsolete files.
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 31 of 34 PageID #: 36


                                                      US 8,438,608 B2
                              25                                                                       26
    Once the upload has been completed, the VideoShare Pro-              arrow labeled "NO" that points from the diamond 610 to the
ducer 20 software and the host computer 60 (for example, the             box 615, "Convert to compatible file format." The conversion
VideoShare Upload/Database Server) will update the user's                process performed by the VideoShare Producer 20 software
account to account for the required storage space that the               creates a DirectShow filter graph that decompresses the video
video requires. The necessary logging, creation of an identi-            file into a temporary, uncompressedAVI file.
fication tag, and storing of the video and the associated iden-             The video segment file in a format that is compatible with
tifier or identifiers is also performed automatically, as sche-          streaming video is then temporarily stored in the user's com-
matically depicted by box 655.                                           puter 16, for example as a file on the hard drive of computer
    The user can optionally add additional identification and            16. This storing step is performed if the file was originally in
control information about the user, and about how and under         10   a format compatible with streaming video by following the
what conditions the video is to be made available for distri-            arrow marked "YES" that points from the diamond 610 to the
bution, as schematically indicated by box 660. The process by            box 620, "Temporarily store file." Alternatively, the storing
which some of this information is collected is discussed                 step is performed if the file was originally not in a format
below with regard to FIG. 8. The user is automatically                   compatible with streaming video by following the arrow that
prompted to provide this information, but has the option to         15   points from the box 615 to the box 620.
forego making a decision immediately. The transmission of                   The temporarily stored file is then compressed in multiple
video segment files to viewers is discussed in more detail               streaming multimedia formats, as denoted by the box 633. In
below, and is represented in FIG. 6B by the box 670 labeled              the present example, three files will be used to describe the
"Transmit file to viewer" which is outside the region 608 as an          process, but it should be understood that more or fewer than
indication that the transmission of files to viewers is an action   20   three formats may be created at substantially the same time.
beyond the material discussed above in conjunction with the              The resulting multiple files are denoted by the three boxes
Save and Share button 536 of FIG. 5.                                     634, 636 and 638labeled "Bandwidth Target A," "Bandwidth
    FIG. 6C shows a flow diagram 602 of an embodiment of the             Target B," and "Bandwidth Target C," respectively. Each file
invention in which software automates a number of steps in               is optimally encoded for play as a streaming video segment at
the formatting of a video segment. In particular, in this           25   a particular transmission rate and bandwidth, such as 28.8 kB,
embodiment, the video segment that the user wishes to pro-               56 kB, 100 kB, 300 kB, or other transmission rates.
vide in streaming video format is compressed into a plurality               As described above, the method includes a step of creating
of formats, each of which is encoded for optimal display at a            and temporarily storing a thumbnail identifier, as denoted by
different transmission bitrate. There can be a benefit to                the box 640. Rather than transmitting one video segment in
recording the same video segment in multiple formats. For           30   one SMF with one thumbnail, the embodiment of FIG. 6C
example, a casual viewer may have only a slow speed modem,               transmits all the files 634, 636 and 638 in association with the
such as a 28.8 kilobaud (kB) modem. For such a viewer, the               single thumbnail and any other identifiers that are selected as
slow transmission speed can make the size of a file a critical           appropriate. For example, each SMF file can be identified as
feature. Such a user can view a video in real time if it is              to its bandwidth. In an alternative embodiment, the system
formatted for a 28.8 kB modem, but not if it is formatted for       35   transmits only a single SMF file with its associated identifiers,
appreciably higher transmission speeds. Another user, for                including the JPEG "thumbnail", and the multiple bandwidth
example, one who has a T1 connection that can handle trans-              variants of the SMF file are generated at the host computer 60.
mission speeds up to approximately 1.5 megabaud, could                   This embodiment may be advantageous when the user has
successfully receive a version of the same video segment that            only a slow speed modem, and would be severely time con-
is formatted for higher transmission speeds, with the possi-        40   strained by having to upload multiple files.
bility of having a better quality image and higher resolution,              The remaining steps of this embodiment, as denoted by the
perhaps with better audio as well. The T1 user could see the             boxes 650, 655, 660 and 670, correspond substantially to the
version of the video segment intended for 28.8 kB transmis-              steps in FIG. 6A represented by the boxes identified with the
sion if he or she wanted to, but might prefer to see a video             corresponding numerals. It should be noted that the precise
segment that appeared to be more professional in quality. By        45   order of some of the steps, for example, the step denoted by
using a system that can automatically discriminate the trans-            the box 655 and the step denoted by the box 650, can be
mission speed capabilities of the hardware that the user                 interchanged without a different outcome of the overall pro-
employs, the embodiment allows each user to view a version               cess. Other such interchanges in sequence are possible as
of the video segment that is optimally configured for the                well, again without a different outcome of the overall process.
user's hardware.                                                    50      FIG. 6D depicts an embodiment of the database 64 of the
    In particular, the steps of the method enclosed within the           host computer 60 on which are recorded the three exemplary
dotted rectangle 609 are automated by software that embod-               bandwidth target files 634, 636 and 638 for FIG. 6C. These
ies the present invention. As described above, the user obtains          files are available for delivery over a computer network to a
and selects a video segment for processing for distribution, as          viewer. The files 634, 636 and 638 represent three versions of
indicated at box 605 that schematically encapsulates all of the     55   the same video segment in streaming multimedia format,
actions that a user takes as described in relation to FIGS. 4 and        each suitable for optimal viewing by a user having hardware
5 above. When the user activates the Save and Share button               operating at the transmission rate corresponding to the format
536 the actions described below that are enclosed by the                 of one of the files.
dotted line 609 are automatically carried out under the control             As shown in FIG. 6E, the user (or the viewer) transmits to
of the VideoShare Producer 20 software.                             60   the host computer 60 a request for a particular video segment,
   As discussed in relation to FIG. 6A, the VideoShare Pro-              denoted by the arrow from the box labeled "USER" to the box
ducer 20 software subjects the selected video segment to                 960 labeled "Connection Speed Detector." Host computer 60
analysis to determine whether the selected video segment is              can include hardware that can sense the transmission speed of
or is not in a file format that is compatible with a streaming           a user computer 16, or of a computer used by a person desiring
video format, as indicated at diamond 610. If the selected          65   to view a video segment. Alternatively, the host computer 60
video segment is not compatible with a streaming video for-              can inquire of the computer on the network that is connected
mat, it is converted to a compatible format, as depicted by the          to the user computer 16 or the computer of a viewer about the
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 32 of 34 PageID #: 37


                                                      US 8,438,608 B2
                              27                                                                       28
speed of connection that is being maintained. When the infor-            mail" feature causes a window such as that depicted in FIG. 9
mation is available to the host computer 60, the host computer           to appear, for example when the user is using Microsoft
60 can determine which file of the files exemplified by 634,             Outlook for e-mail service.
636 and 638 is most appropriate to serve to the user or viewer,             As shown in FIG. 9, at the top of the email message, the
as denoted by the box 692 labeled "Logic to select and serve             Video Share Producer 20 software will display the Windows
SMF file to User." The host computer 60 then transmits the               Media Player 910 with the sender's recorded video pre-
appropriate file to the user, as denoted by the arrow from the           loaded. The recipient of this embedded video mail only needs
box 692 to the box 694labeled "User receives and views SMF               to activate the play button 920 on the Windows Media Player
file." Alternatively, the viewer can request the transmission of         to see the video segment, rather than going to a URL hyper-
a file encoded at a specific bitrate.                               10   link. The embodiment includes the conventional dialog boxes
   When the user begins the process described in relation to             for entry of an email address for a recipient (box 902), a
FIG. 6A, in one embodiment, the "Progress Dialog" screen                 "carbon copy" ("cc") address (box 904), and a subject (box
700 depicted in FIG. 7 is presented, reflecting the status of the        906). In the embodiment shown, instructions are presented
process in real time. The "Progress Dialog" screen 700 noti-             below the Windows Media Player 910 for the convenience of
fies the user about the total number of bytes that have to be       15   the recipient.
uploaded to perform the transfer and it also informs the user               The two options "Share as a Video Greeting Card" and
of the number of bytes and the percentage of the file that have          "Take me to my VideoCenter" causes the VideoShare Pro-
been uploaded in real time.                                              ducer 20 software to spawn off a Web browser and automati-
   FIG. 8 depicts a dialog panel800 presenting several meth-             cally jump to one of these two pages on the VideoShare Web
ods with which the user can distribute the uploaded streaming       20   site. The user can define the features of a video greeting card,
video segment and its associated identifiers to third party              and can direct the card as an e-mail to a viewer. Alternatively,
recipients. The dialog panel 800 prompts the user as to the              the user can define a recipient list for the video segment as a
possible selections that the user can elect.                             single item to be viewed, and can send the video to the
   In one embodiment, there are five possible methods to                 locations on the list.
distribute the video file:                                          25      The "Share Through I CQ Messaging" button 83 0 can bring
   The user can elect to use an email browser to send an email           up ICQ's Instant Messenger software, if it is installed on the
to one or more people that includes a URL reference to the               user's machine, and can initiate a "URL Message" construc-
video located on the Video Share web site. This also includes            tion automatically. The Video Share Producer 20 software can
the further possibility to send the video player directly                automatically fill out the URL that references the playback of
embedded inside the email message. This option is elected by        30   the user's video. The recipient of this URL Message can view
activating the button 810, labeled "Share as a video mail."              the video by clicking a mouse on the URL to be taken directly
   The user can elect to share the video as a greeting card,             to the VideoShare web site, where the video can be displayed.
bringing the user to the Video Greeting Card web page at the                The "Put HTML code in my clipboard" button 850 can
VideoShare web site. In this case, the user will also select             place a section of HTML code that, when the user pastes this
features relating to the greeting card. The user can elect this     35   code in a web page, causes the Windows Media Player to
option by activating the button 820, labeled "Share as a video           automatically instantiate a video playback of the message.
greeting card."                                                          This feature enables the user to place this video in any system
   The user can elect to send an ICQ URL message, automati-              that supports HTML code, such as personal web pages, online
cally interfacing with ICQ' s Instant Messenger software. The            auction sites, online job boards, and the like.
user can elect this option by activating the button 830 labeled     40      Working Offline and the "Sharing Queue"
"Share through ICQ Messaging."                                              The Video Share Producer 20 software also allows the user
   The user can elect to go to the user's VideoCenter page on            to "work offline." Offline means that the VideoS hare Producer
the VideoShare web site, from which location the video can               20 software will not communicate with the host computer 60
also be shared or sent to others. The user can elect this option         (for example, the Video Share Upload/Database Server) until
by activating the button 840, labeled "Take me to my Video-         45   the user explicitly uploads one-or-more videos by using a
Center."                                                                 "Sharing Queue." This Sharing Queue appears to the user as
   The user can elect to place HTML code in the user's clip-             one of the main tabs in the VideoShare Producer 20 software
board that references the video. This HTML code can be                   and acts as a temporary queue for recorded/imported videos.
"pasted" into any Web page that supports HTML inserts. The               "Work offline" allows the user to not make an Internet con-
user can elect this option by activating the button 850, labeled    50   nection until he or she is ready to upload more than one video
"Put HTML code in my clipboard." In one embodiment, this                 at a time. This mode of operation is useful for modem users
option allows a user to paste a video into a Web page, for               who incur considerable expense for extended dial-in times or
example to demonstrate the use of a product for sale, or to              people who are using laptops and are not always near an
present a personal greeting to visitors to the Web page.                 Internet connection outlet.
   By electing to activate the button 860, labeled "Nothing,        55      FIG.10 shows a screen 1000 used to control the status of a
I'll share this video later," the user can postpone making an            video queue. When the user, after recording or importing a
election regarding the sharing of the uploaded video segment.            video, clicks the "Save and Share" button 536 ofFIG. 5 while
   The above options are discussed in more detail below.                 in "offline mode," the Video Share Producer 20 software per-
    Sharing the video by using email will bring up the user's            forms the first three steps of the "Save and Share Process,"
default email browser, such as Outlook, N etscape Communi-          60   namely, the video file format conversion represented by box
cator, Eudora, etc. This is accomplished through the use of              615 of FIG. 6A, the compression of the video segment to a
MAPI technologies that allow for document exchange on                    streaming multimedia format at a user-specified bitrate rep-
Win9x/2000 systems. A user who employs Netscape Com-                     resented by the box 635 of FIG. 6A, and the creation of a
municator or Microsoft Outlook will be able to directly                  "Thumbnail" JPEG snapshot of the video file represented by
embed the Windows Media Player inside the email text body,          65   the box 640 of FIG. 6A. The resulting output files are stored
allowing the recipient to directly play the video from his or            in a local database for later use in the "Sharing Queue," which
her email browser. In one embodiment, this "embedded video               is an operation similar to the temporary storage of files
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 33 of 34 PageID #: 38


                                                      US 8,438,608 B2
                              29                                                                      30
depicted in FIG. 6A. In the middle of FIG. 10 is a dialog box              receiving, by a receiving computer via a web page, a video
1010 that displays a list of video segments that are ready to be              file sent by a user on a second computer on a network;
uploaded to the VideoShare Web site. The small "Preview"                   executing, by the receiving computer server, in response to
window 1020 in the upper left corner of FIG. 10 is a Direct-                  receiving the video file, an automated function automati-
Show playback graph that allows the user to review the stored                 cally performing each of:
video segment that is highlighted in the dialog box 1010. The              (b1) converting the video file into a streaming video file
user can use this window to preview the video segment file by                 comprising a streaming video format, the video file
activating the "Preview" button 1030, to delete the video                     being converted independent from receiving a command
segment file by activating the "Delete" button 1040, and to                   to perform such conversion from the user;
upload and publish the video by activating the "Save and           10      (b2) generating an identification tag comprising a video
Share Now" button 1050.                                                       frame image representing a subject matter of the stream-
   The "Save and Share Now" button 1050 performs the                          ing video file and identifYing the streaming video file;
uploading process on each of the queued videos, creating a                    and
TCP/IP connection to the VideoShare Upload/Database                        (b3) embedding the identification tag comprising the video
Server, transferring the file to the VideoShare web site, and      15         frame image into a web page for serving the streaming
updating the user's VideoS hare account, in a manner substan-                 video file to one or more users on one or more computers
tially similar to the method employed by the Save and Share                   on the network.
button 536 of FIG. 5 to accomplish the same activities.                    2. The method of claim 1, wherein the streaming video file
   AudioNideo Setting Process                                           comprises an advertisement.
   FIG.11 shows a screen 1100 used to control the operational      20      3. The method of claim 1,further comprising uploading, by
settings of equipment connected to the user's computer.                 the user on the second computer, the video file onto the
Another feature of the VideoShare Producer 20 software the              receiving computer via an upload form residing on a web
ability of the user to change the configuration of the audio,           page.
video, and compression devices through the use of the "Set-                4. The method of claim 1, further comprising:
tings" tab 1110. Upon activation of the Settings tab 1110, the     25      receiving, by the receiving computer, the video file along
screen 1100 is active.                                                        with information supplied by the user, and
   The user can select the "bitrate" at which the streaming                transmitting, by the receiving computer via the web page,
multimedia files will be compressed by using the set of radio                 the information to the one or more users on the one or
buttons 1120 at the upper left corner of the screen 1100. The                 more computers.
default setting is "56 k Modem" which corresponds to a user        30      5. The method of claim 4, wherein the information com-
using a 56 k modem. This default setting is denoted by the 56           prises one of an identification of the user or a username of the
k Modem radio button 1120 appearing with a dot, while the               user.
remaining radio buttons for bitrate 1120 are blank. In one                 6. The method of claim 4, wherein the information com-
embodiment, the pie graph 1130 that appears at the upper                prises one of a title of the video file or a comment about the
right corner of screen 1100 indicates the percentage of the        35   video file.
user's VideoShare storage space that is full. In the embodi-               7. The method of claim 1, wherein the network comprises
ment shown, the user has filled approximately 3.13% of the              one or more of: a cellular communication connection, a wire
available storage capacity available for storing files. Two             connection or a wireless networking connection.
pull-down menus, "Camera source device" box 1140 and                       8. The method of claim 1, wherein the identification tag
"Audio source device" box 1150, list all of the available video    40   comprises a uniform resource locator (URL).
and audio capture sources that the user has available on his or            9. The method of claim 1, wherein step (b1) further com-
her Win9x/2000 machine. The user can select a source of                 prises converting the video file into a second video format.
audio or video by activating the appropriate pull-down menu                10. The method of claim 1, wherein:
box and locating a device of his or her choosing. To the right             step (b 1) further comprises converting the streaming video
of these pull-down menus, there are two buttons, "Video            45         file comprising the streaming video format into a second
Settings ... "1160 and "Audio Settings ... "1170 that allow                   streaming video file comprising a second streaming
the user to change the properties of the currently selected                   video format; and
audio and video device. Such properties include image size,                step (b2) further comprises generating a second identifica-
capture compression, lighting conditions, and the like. The                   tion tag identifying the second streaming video file and
screen 1100 also provides to the user the current working          50         comprising a second video frame image selected from
directory information in a the box 1180 and the current queue                 the second streaming video file, the second video frame
directory information in the box 1190, which the user can                     image representing a subject matter of the second
optionally change by entering new values in either or both                    streaming video file.
boxes 1180 and 1190.                                                       11. The method of claim 1, wherein the receiving computer
                                                                   55   comprises a plurality of computing devices.
                      EQUIVALENTS                                          12. The method of claim 1, wherein the video file is a
                                                                        streaming video file in a streaming video format.
    While the invention has been particularly shown and                    13. The method of claim 1, wherein the web page for
described with reference to specific preferred embodiments,             serving the streaming video file is accessible to an affinity
it should be understood by those skilled in the art that various   60   group of the video.
changes in form and detail may be made therein without                     14. A system for sharing a video over a network, the system
departing from the spirit and scope of the invention as defined         comprising:
by the appended claims.                                                    a receiving computer;
                                                                           a format conversion module of the receiving computer;
   What is claimed is:                                             65      an identification module of the receiving computer;
   1. A method of streaming a video to users over a network,               the receiving computer receiving, via a first web page, a
the method comprising the steps of:                                           video file sent by a user on a second computer on a
Case 1:13-cv-00990-GMS Document 1-2 Filed 06/04/13 Page 34 of 34 PageID #: 39


                                                       US 8,438,608 B2
                               31                                                                        32
     n~twork      and executing, in response to receiving the                18. The system of claim 17, wherein the information com-
       v1deo file, an automated function automatically per-               prises one or more of: an identification of the user, a usemame
       forming each one of:                                               of the user and a title of the video file.
    converting, by the format conversion module, the video file              19. The system of claim 17, wherein the information com-
       into a streaming video file comprising a streaming video           prises one or more of: a subject relating to the video file, a date
       format, the video file converted independent from                  the video segment was produced, or a comment about the
       receiving a command to perform such conversion from                video file.
       the user;
                                                                             20. The system of claim 14, wherein the identification tag
    generating, by the identification module, an identification
                                                                          further comprises a uniform resource locator (URL).
       tag comprising a video frame image representing a sub-        10
                                                                             21. The system of claim 14, wherein the network comprises
       ject matter of the streaming video file and identifYing the
       streaming video file; and                                          one or more of: a cellular communication connection a wire
                                                                          connection and a wireless networking connection. '
    embedding, by the receiving computer, the identification
                                                                             22. The system of claim 14, wherein the format conversion
       tag comprising the video frame image into a web page
       for serving the streaming video file to one or more users          module converts the video file into multiple video formats.
                                                                     15
                                                                             23. The system of claim 14, wherein:
       on one or more computers on the network.
    15. The system of claim 14, wherein the streaming video                  the format conversion module converts the streaming video
file comprises an advertisement.                                                file comprising the streaming video format into a second
    16. The system of claim 14, wherein the user on the second                  streaming video file comprising a second streaming
computer uploads onto the receiving computer the video file                     video format; and
                                                                     20
using an upload form residing on the first web page.                         the identification module generates a second identification
    17. The system of claim 14, wherein the receiving com-                      tag identifYing the second streaming video file and com-
puter receives the video file along with information supplied                   prises a second video frame image selected from the
by the user, and                                                                second streaming video file, the second video frame
    a sharing module of the receiving computer transmits, via                   image representing a subject matter of the second
                                                                     25
       the second web page, the information to the one or more                  streaming video file.
       users on the one or more computers.                                                        * * * * *
